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   Terms of Use

   Last Updated: January 6, 2017

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   other agreement shall take precedence in relation to the speciﬁc aspects of the Service to which it applies.

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   This Site is intended solely for Users who are 18 years of age or older and use of the Site by anyone under 18 is a violation of these
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   using or accessing the Service or the Site.

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   In consideration of your use of the Site, you agree to (a) provide accurate, current, and complete information about you as may be
   prompted by any registration forms on the Site (“Registration Data”); and (b) maintain the security of your password and
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   No communication should be considered a recommendation of any investment opportunity and there can be no assurance that
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   You hereby acknowledge and agree that you have the sole responsibility to examine all information concerning the investment
   opportunities on the Site. You further agree that you will make an independent evaluation of the investment opportunities and
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   costs or proﬁts, if any, to be derived from the opportunities.

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   By making a bid in an auction, you agree you are entering a legally binding contract with the seller to purchase the right or item
   for the amount of your bid, if you are the highest bidder and the reserve price is met. The highest bidder shall purchase the right
   or item in accordance with these Terms of Use and any information presented in the auction listing and (a) assumes full risk and
   responsibility therefore, (b) if requested, shall sign a conﬁrmation of purchase, and (c) shall pay the purchase price in full within
   two business days following the close of the auction.

   If you fail to comply with the foregoing conditions, in addition to other remedies available to the Company by law, including
   without limitation, the right to hold you liable for the purchase price, the Company at our option may either (a) cancel the sale or
   (b) resell the right or item, either publicly or privately, and in such event you may be liable for the payment of any deﬁciency plus
   all costs and expenses associated with the sale, the Company’s commission at our standard rates, all other charges due
   hereunder, attorney's fees, and incidental damages. If you fail to honor your binding bid, Company may also terminate your
   account and remove your ability to bid on further auctions.

   If you fail to promptly pay all fees, commissions, bid price and other sums due to us as provided in these Terms of Use, we reserve
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   You acknowledge that any royalties purchased on our Site but not paid by Royalty Exchange are due from the underlying royalty
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   We do not warrant that the results that may be obtained from the use of the Service will be accurate or reliable.

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          use any automated means to access this Site or collect any information from the Site (including, without limitation, robots,
          spiders, scripts or other automatic devices or programs);


          frame the Site, utilize framing techniques to enclose any Content or other proprietary information, place pop-up windows
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          engage in the practices of “screen scraping,” “database scraping” or any other activity with the purpose of obtaining
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   You state that no materials of any kind submitted through your account or otherwise posted or shared by you through the Service
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          upload, post, transmit, share, store or otherwise make available any content that we deem to be harmful, threatening,
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          impersonate any person or entity, or falsely state or otherwise misrepresent yourself, your age or your aﬃliation with any
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          upload, post, transmit, share or otherwise make available any unsolicited or unauthorized advertising, solicitations,
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          solicit personal information from anyone under 18 or solicit passwords or personally identifying information for commercial
          or unlawful purposes;


          upload, post, transmit, share or otherwise make available any material that contains software viruses or any other
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          hardware or telecommunications equipment;


          intimidate or harass another user;


          upload, post, transmit, share, store or otherwise make available content that would constitute, encourage or provide
          instructions for a criminal oﬀense, violate the rights of any party, or that would otherwise create liability or violate any local,
          state, national or international law;


          use or attempt to use another’s account, service or system without authorization from the Company, or create a false
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      1. A physical or electronic signature of a person authorized to act on behalf of the owner of an exclusive right that is allegedly
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      2. Identiﬁcation of the copyrighted work claimed to have been infringed, or, if multiple copyrighted works at a single online
         site are covered by a single notiﬁcation, a representative list of such works at that site;

      3. Identiﬁcation of the material that is claimed to be infringing or to be the subject of infringing activity and that is to be
         removed or access to which is to be disabled, and information reasonably suﬃcient to permit us to locate the material;

      4. Information reasonably suﬃcient to permit us to contact the complaining party, such as an address, telephone number
         and, if available, an electronic mail address at which the complaining party may be contacted;

      5. A statement that the complaining party has a good-faith belief that use of the material in the manner complained of is not
          authorized by the copyright owner, its agent or the law; and

      6. A statement that the information in the notiﬁcation is accurate, and under penalty of perjury, that the complaining party is
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   THE EXTENT PERMITTED BY APPLICABLE LAW THE COMPANY’S LIABILITY TO YOU FOR ANY CAUSE WHATSOEVER, AND
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                                       PURCHASE AGREEMENT                                         4


        This purchase agreement is dated 07/21/2017, and is between MIH ENTERTAINMENT,
LLC, a California limited liability company ("Seller") with offices at

1812 W. Burbank Blvd Ste 375 Burbank CA 91506
and Otimo Music Inc., a Canadian corporation ('Purchaser") with offices at

3246 Cedar Ave. Westmount QC H3Y1Z5


        The parties agree as follows:


1.      Assignment.



        1.1    Effective July 21, 2017 ('Effective Date") and in consideration of the Purchase
Price in section 2, Seller hereby assigns to Purchaser 100% of Seller's interest in the musical
composition, sound recording, and master video copyrights, and 100% of the rights to all related
royalties attributable to the related Works ('�ssigned Rights"). 'Works" are the musical works
listed in attachment A.


       1.2     Seller shall direct its royalty distributors ('Distributors"), and any other paying
entity to pay the Assigned Rights directly to Purchaser or Purchaser's administrator. Seller shall
execute any document required by any paying entity necessary to assign the Assigned Rights.


       1.3     The term of this assignment is for the full duration of Seller's interest in the
copyright of the Works, including any extensions and renewals.


       1.4     The assignment includes assignments of various agreements between Seller and
its Distributors, as well as an agreement between Seller and the artist of the Works. The
agreements are attached as Attachment B. Seller's rights and obligations in the attached
agreements are hereby incorporated by reference.


       1.5     The assignment includes the right to receive all income earned from any source
with respect to the Assigned Right that has not been received by Seller prior to the Effective
Date and a 100 % share of all existing or potential causes of action including, without limitation,
those for infringement, underpayment or non-payment of the Assigned Rights.


2.       Purchase Price.Purchaser agrees to pay Seller U.S. $420,000.00 as the purchase price
for the Assigned Rights (the "Purchase Price") to be held in escrow until completion of the
transaction.
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3.      Seller's Obligations and Statements of Fact.



       3.1   Seller is the sole owner of its interest in the Assigned Rights and is the sole owner

of the the musical compositions, sound recordings and master videos copyrights which are
being assigned under this Agreement. The Assigned Rights are free and clear from all
encumbrances and none of the musical compositions, sound recordings and master videos
being assigned to the Purchaser under this Agreement infringes the rights of any third party and
the assignment under this Agreement does not infringe the rights of any third party. The Seller
has has full authority to enter this agreement and perform its obligations, and no person holds a
power of attorney on Seller's behalf affecting the assigned interest.


       3.2   Seller has not and shall not do anything that would impair Purchaser's right to
receive the Assigned Rights. Promptly after the Effective Date, Seller shall take all actions
necessary to enable Purchaser to notify Seller's Distributors or any other paying entity that the
Seller's rights have been assigned to Purchaser.


       3.3   No valid adverse claim exists with respect to the Assigned Rights or any other
rights assigned by Seller. Seller is not bound by any action or agreement that would prevent it
from performing its obligations and no current or prior employee of Seller has any actual or
potential claim against Seller or the Assigned Rights that would in any way impair the rights
being assigned to Purchaser.


       3.4   All material conditions to the assignment have been satisfied including, without
limitation, the obtaining of any approval, the giving of any notice, the making of any filing, and
the satisfying of any payments or claims of any third party. No third party has a right of first
refusal with respect to the Assigned Rights.


       3.5   All taxes accrued or owing through the date of execution of this agreement related
to the Assigned Rights, including without limitation any sales or transfer taxes resulting from the
transaction, if any, have been or will be paid by Seller.


       3.6   Seller has not and will not enter into any agreement with respect to the Works or
the Assigned Rights that would conflict with the terms of this agreement. Seller has not settled
any claim nor waived any right and will not settle any claim or waive any right concerning any of
the Assigned Rights or the Works that would conflict with the terms of this agreement.


4.      Purchaser's Statement of Fact and Acknowledgment P urchaser states that it has the
full authority to enter and perform its obligations under this agreement. Purchaser acknowledges
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that Seller's Distributors or other paying entity may need to approve the assignment and may
not prorate royalty payments earned before and after the Effective Date. Therefore, Purchaser

may not receive payment from the Distributors or other paying entity until the next accounting
statement after the Effective Date, and may need to rely on section 6 for any post-Effective Date
payments sent to Seller.


5.      Inspection Period.Purchaser may, for a period of no more than three business days

after the Effective Date, conduct its own inspection related to the information presented in the
marketplace listing and the truth and accuracy of Seller's statements of fact. Purchaser shall not
withhold approval of the transaction unless it discovers and notifies Seller of a material
misrepresentation or deficiency during the inspection period. Seller shall have the opportunity to
promptly cure any misrepresentation or deficiency upon notification by Purchaser.


6.      Income After Assignment.All royalty payments related to the Assigned Rights paid

after July 31, 2017, regardless of when earned or when the performances from which such
royalties derive occurred, are the sole property of Purchaser. If any such sums are received by
or on behalf of Seller after July 31, 2017, Seller shall transmit or cause the recipient to transmit
the amounts immediately upon receipt to Purchaser. All such sums not transmitted within 15
days after receipt shall accrue interest at the rate of 2% per month.


7.      Indemnity. Seller shall indemnify Purchaser and Purchaser's administrator against all
losses and liabilities, including reasonable attorneys' fees, related to any alleged breach of, or
failure by Seller to perform any of Seller's obligations under this agreement, or related to
any errors (knowing or unknowingly) in the Seller's Statement of Facts. Purchaser or
Purchaser's administrator shall notify Seller of any claim presented to Purchaser or Purchaser's
administrator by a third party and Seller shall have the right to participate in the defense of any
such claim with counsel of Seller's choosing at Seller's sole cost and expense.


8.      Additional Documents and Power of Attorney.Seller shall promptly, at Purchaser's

request, execute all documents necessary to transfer the Assigned Rights to Purchaser
( "Transfer   Documents" ) . If Purchaser requests Seller to execute a Transfer Document, and
Seller fails to execute the document within 10 business days after notification, Seller appoints
Purchaser, as Seller's true and lawful attorney, to execute all Transfer Documents in Seller's
name. Purchaser shall deliver to Seller copies of all Transfer Documents executed by Purchaser
in the exercise of the power of attorney. The power of attorney granted to Purchaser is limited

and specific to Transfer Documents.


9.      Fees.The parties may have separate agreements with Royalty Exchange with respect to
all fees payable to Royalty Exchange. The parties acknowledge that any fee charged to the
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Seller shall be paid to Royalty Exchange out of the Purchase Price, and any fee charged to the
Purchaser shall be paid to Royalty Exchange in addition to the Purchase Price.


1 O.    Notices.Any notice required by this agreement shall be in writing and sent to the

address in the introductory clause unless the party has given a new address to the other party.


11.     Entirety and Amendment.This agreement constitutes the entire understanding of the

parties and no amendment will be valid unless it is in writing and signed by both parties.


12.     Attorneys' Fees. If any proceeding is brought for the enforcement of this agreement, or

because of a dispute in connection with any of its provisions, the prevailing party is entitled to
recover reasonable attorneys' fees and other costs incurred in the proceeding, in addition to any
other relief to which it may be entitled.


13.     Binding Upon Successors.This agreement is binding upon and inures to the benefit of
the successors, assigns, heirs, executors and legal representatives of the parties.


1 4.    Expenses. The parties shall pay all of their own costs and expenses (including legal
fees) in performing due diligence and in negotiating and performing their obligations under this
agreement.


15.     Confidentiality. Except as otherwise required by law, the parties shall not, without the

other party's written consent, disclose to any third party any confidential information supplied by
the other party in connection with this agreement, except that such confidential information may
be disclosed to either party's counsel, accountants and other professionals on a need-to-know
basis related to this agreement.


16.     Representation By Legal Counsel.The parties acknowledge that they have had the

opportunity to retain legal counsel with respect to this agreement and any choice by either party
not to be represented is made independently. ·




The parties are signing this agreement on the date stated in the introductory clause.



       MIH ENTERTAINMENT, LLC




 By:
       Michael Conner
       Managing Member
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      OTIMO MUSIC INC.




By:
          r Jtot!J
      Ryan Stotland
      Authorized Signatory
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                   SI NG H. SI NGH & TRA UBE N, LLP
                                                                                            CONFORMED COpy
                   MICHAE L A. TRAUBEN (SBN: 277557)                                             OF ORIGINAL FILED          5
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                   Beverly Hill s, Cali fornia 902 12
              3    Tel : 3 10.856.9705; Fax: 888 .73 4.3555
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                                                                                              By Shaunya Boldan, Deputy
               5 A ttomeys for Plailltiff
                   A LEX GONZALEZ VELAZQ UEZ p/kla
               6   KING L1 L G

               7                      SU PERIOR COURT OF THE STATE OF CALIFORNIA

              8                       CO UNTY OF LOS ANGELES - CENTRAL DISTRICT

              9    ALEX GONZALEZ V ELAZQUEZ p/kla                  ) Case No. BC653688
             10    KING LI L G , an individual,                    )
                                                                    ) FIRST AMENDED COMPLAINT for:
                                      Plainti ff,                   )
             II                                                     )    1. DECLARATORY RELIEF;
                                                                    )    2. DECLARATORY RELIEF;
             12              v.                                          3. BREACH OF MANAGEMENT
                                                                    )
                                                                    )       A G REEM E NT ;
             13    M IC HAEL W. CONNER, JR., an                     )    4. BREACH OF FIDUCIARY DUTY;
             14    individ ua l, MIH ENT ERTAIN M ENT, LLC, )            S. CONVE RSION;
                   a Ca li fo rnia limited li a bility company, and )    6. FRAU D; alldfor all
             15    DOES 1- 10. inclusive,                           )    7. ACCOUNTING
                                                                    )
             16                       Defe ndants.                  )

             17    1------------- -- -- -----)
                           Plainti ff, A lex Gonzalez Velazquez p/kla King L il G (" Velazquez" or "Plaintiff '), by
             18
                   and thro ug h hi s undersig ned counsel, hereby files hi s First A mended Complaint (" FAC")
             19
                   against Defendants Michae l W. Conner, Jr. (" Conner"), MIH Entertainment, LL C (" MIH" ) and
             20
                   DOES I through 10, inclusive (collecti ve ly, " Defendants" ), and in support thereof alleges as
             21
                   fo llows:
             22
                                                         NA T UR E OF AC TION
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                           1.      Th is is a case about an unscrupulous e ntertainment industry manager who
             24
                   g rossly abused the trust and confidence a musical artist reposed in him to fabricate an

                   ownershi p interest in Plaintiffs intellectual property whil e concurrently commandeering and
             26
                   mi sappropriating hundreds of thousands of dollars of Pl ainti ffs monies deri ved from the
             27
                   d istri buti on, sale and exploitation of Plaintiffs musical works.
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           1          2.    Through this Fist Amended Complaint, Plaintiff seeks to recover damages
           2 arising from Defendants’ unilateral, willful and unjustified material breaches of a personal

           3 management agreement with Plaintiff, including Defendants’ breaches of fiduciary duties owed

           4 to Plaintiff in addition to Defendants’ conversion of hundreds of thousands of dollars of

           5 Plaintiff’s monies.

           6          3.    Further, this is an action for declaratory relief, seeking a Court determination as
           7 to the termination of any agreements or purported agreements between Plaintiff and Defendants.

           8                                         THE PARTIES
           9          4.    Plaintiff Velazquez is an individual residing in Los Angeles County, California.
      10              5.    Upon information and belief, Defendant Conner is an individual residing in Los
      11 Angeles County, California.

      12              6.    Upon information and belief, Defendant MIH is a limited liability company
      13 organized and existing under the laws of the State of California with its principal place of

      14 business in Los Angeles County, California.

      15              7.    Upon information and belief, Conner holds himself out as the chief executive
      16 officer of MIH, and owns, operates and wholly controls MIH.

      17              8.    In addition, Plaintiff is informed and believes, and on that basis alleges, that
      18 Conner is the “alter ego” of MIH and that there exists, and at all times mentioned herein existed,

      19 a unity of interest and ownership between Conner and MIH such that any individuality and

      20 separateness between the Defendants has ceased, and Conner controls the business and

      21 activities of MIH.

      22              9.    Plaintiff is informed and believes, and on that basis alleges, that at all times
      23 herein mentioned, MIH was and is a mere shell, instrumentality and conduit through which

      24 Conner carried on his business in the corporate name, exactly as he would have had there been

      25 no corporation at all, exercising complete control and dominance over such business to the point

      26 where any individuality or separateness between Conner and MIH does not, and at all times

      27 herein mentioned, did not, exist.

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           1          10.    In addition, upon information and belief, Conner further comingled and
           2 continues to comingle his assets with MIH, controlled and continues to control MIH’s finances

           3 in their entirety, treated and treats MIH’s assets as his own, and further engaged and engages in

           4 such zealous controlling conduct towards MIH that MIH was and remains nothing more than a

           5 mere instrumentality of Conner.

           6          11.    Upon information and belief, MIH is and was extremely undercapitalized as all,
           7 or most, of the revenues and monies yielded from MIH’s business were and have been drained

           8 from MIH and transferred to Conner and, further, Conner has and continues to use the assets of

           9 MIH for his own personal use and has wrongfully diverted from their intended use significant

      10 sums of money properly to be paid by MIH to Plaintiff.

      11              12.    Plaintiff is informed and believes, and on that basis alleges, that MIH is unable to
      12 satisfy any judgment against it.

      13              13.    Adherence to the fiction of the separate existence of Conner as an individual
      14 separate and distinct from MIH would permit an abuse of the corporate privilege and would

      15 sanction fraud or promote injustice in that Conner might escape liability for the causes of action

      16 set out herein and would permit an abuse of the corporate privilege and produce an inequitable

      17 result.

      18              14.    The true names and capacities, whether individual, corporate, partnership,
      19 associate, or otherwise, of the Defendants named herein as DOES 1 through 10, inclusive, are

      20 presently unknown to Plaintiff, who therefore sues these Defendants by fictitious names.

      21 Plaintiff will seek leave of Court to amend this pleading to allege their true names and

      22 capacities as soon as they are ascertained. Plaintiff further alleges, upon information and belief,

      23 that each of these fictitiously named Defendants is responsible in some manner for the acts

      24 alleged herein.

      25                                     JURISDICTION AND VENUE
      26              15.    The harms and obligations sued upon were incurred and occurred in the County
      27 of Los Angeles.

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           1          16.    Jurisdiction is premised on the fact that the damages suffered by Plaintiff are in
           2 excess of the minimum sum required for jurisdiction in the Superior Court of the State of

           3 California.

           4          17.    Further, this Court has personal jurisdiction over Defendants on the grounds that
           5 Defendants reside in this State and Defendants conduct and transact substantial business

           6 activities in this State and contract to supply services in this State, and Defendants have

           7 purposefully availed themselves of the jurisdiction of this Court by transacting substantial

           8 business in this State.

           9          18.    Venue and jurisdiction are proper in this State and County as all or substantially
      10 all of the subject transactions have occurred in this State and County.

      11              19.    In addition, venue is also proper in Los Angeles County, California as, pursuant
      12 to the subject written management agreement executed by Plaintiff and Defendant MIH, the

      13 parties expressly agreed to submit to the jurisdiction of the courts of the State of California with

      14 respect to any controversies regarding the personal management agreement.

      15                                      FACTUAL BACKGROUND
      16              20.    Plaintiff is a well-established hip-hop artist professionally known as “King Lil
      17 G”.

      18              21.    Plaintiff first met Defendant Conner in or around June 2012 when Defendant
      19 Conner appeared at one of Plaintiff’s music video shoots in furtherance of attempting to work

      20 with the then creator and director of Plaintiff’s music videos.

      21              22.    Upon information and belief, at the time Plaintiff met Defendant Conner in or
      22 around June 2012, Defendant Conner was 21 years old.

      23              23.    During this initial meeting, Conner represented to Plaintiff that Conner’s father
      24 allegedly worked as an A&R consultant for the record label Bad Boy Entertainment, and that

      25 Conner was similarly attempting to work in the music business.

      26              24.    Soon thereafter, starting in or around June 2012, Conner commenced working as
      27 the personal assistant to Plaintiff, performing such tasks as scheduling meetings for Plaintiff,

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           1 coordinating the scheduling of interviews with publications seeking to interview Plaintiff,

           2 picking up food and drinks for participants in Plaintiff’s music video shoots, and assisting

           3 Plaintiff with the uploading of Plaintiff’s music on various digital music streaming services

           4 such as Spotify or Pandora Internet Radio.

           5          25.    To Plaintiff’s knowledge, around this time period, Conner was not working with
           6 or representing any other artists or producers in the music industry.

           7          26.     Upon information and belief, around this time, Defendant MIH did not yet exist,
           8 being first established on or around August 28, 2012.

           9          27.    After providing intermittent assistant to Plaintiff in the capacity of a personal
      10 assistant for approximately six (6) months, Conner requested that Plaintiff agree to afford

      11 Conner the opportunity to serve as Plaintiff’s personal manager in the entertainment industry.

      12              28.    Based upon Conner having gained the trust and confidence of Plaintiff during the
      13 prior six (6) months of serving as Plaintiff’s personal assistant, Plaintiff agreed to afford Conner

      14 the opportunity to perform services for Plaintiff in the capacity of a personal manager.

      15                                       The Management Agreement
      16              29.    On or around January 1, 2013, and consistent with the parties’ decision in this
      17 regard, Plaintiff and Defendant MIH entered into a written artist management agreement (the

      18 “Management Agreement”). A true and correct copy of the Management Agreement is attached

      19 hereto as Exhibit “A”.

      20              30.    Pursuant to the Management Agreement, in exchange for the right to receive a
      21 sum of money equal to ten percent (10%) of Plaintiff’s gross monthly earnings related to

      22 Plaintiff’s career in the entertainment and music industry, Defendant MIH agreed and was

      23 obligated to provide and perform those services normally and customarily provided by personal

      24 managers in the music and entertainment industry, including the provision of such advice,

      25 guidance, counsel and other services as Plaintiff reasonably required to further Plaintiff’s career

      26 in the entertainment industry.

      27              31.    In addition, Defendant MIH explicitly agreed pursuant to the Management
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           1 Agreement to maintain accurate books and records of all transactions concerning Plaintiff,

           2 which books and records could be inspected during regular business hours by a certified public

           3 accountant designed by Plaintiff and upon reasonable notice to Defendant MIH.

           4          32.    The Management Agreement further explicitly provided that the initial term of
           5 the Management Agreement expired on January 1, 2014.

           6          33.    To extend the initial term of the Management Agreement, Defendant MIH was
           7 required, pursuant to paragraph 7 of the Management Agreement, to send a written notice to

           8 Plaintiff “no less than SIXTY (60) days prior to the expiration of the initial term”, specifically,

           9 January 1, 2014.

      10              34.    Prior to the expiration of the initial term on January 1, 2014, the parties
      11 understood and agreed that Defendant MIH would no longer serve as Plaintiff’s personal

      12 manager in the entertainment industry, and that the parties would let the Management

      13 Agreement expire by its own terms on January 1, 2014.

      14              35.    Based upon this understanding, Defendant MIH did not send any written notice
      15 to Plaintiff prior to the expiration of the initial term seeking to exercise MIH’s option to extend

      16 the Management Agreement’s term beyond January 1, 2014.

      17              36.    Consequently, the parties’ Management Agreement terminated, by its own
      18 accord, on January 1, 2014.

      19              37.    Following the expiration of the term of the Management Agreement, Defendant
      20 Conner reverted to providing intermittent services as a personal assistant to Plaintiff,

      21 sporadically attending Plaintiff’s music video shoots and recording sessions at Plaintiff’s house,

      22 while purporting to continue to “help” Plaintiff upload his music to various digital streaming

      23 services and interfacing with publications seeking to conduct interviews with Plaintiff.

      24              38.    While, to Plaintiff’s knowledge, Defendants’ involvement in Plaintiff’s day-to-
      25 day entertainment activities diminished following the termination of the Management

      26 Agreement, Plaintiff agreed that he would give Defendant MIH ten percent (10%) of the

      27 advance Plaintiff received in connection with a future record company agreement.

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           1          39.    In this regard, on or around May 16, 2015, Plaintiff entered into an exclusive
           2 recording artist and publishing agreement with Del Records, Inc., pursuant to which Plaintiff

           3 was paid $20,000.00 in partial satisfaction of an agreed upon unrecoupable advance.

           4          40.    In turn, Plaintiff paid Defendant Conner ten percent (10%) of the monies
           5 Plaintiff received in connection with this partial payment of the advance.

           6          41.    Ultimately, in or around 2016, when Plaintiff’s already substantial preexisting
           7 following and fan base continued to expand, Plaintiff started to question Defendants regarding

           8 the existence and amount of revenues being derived from the sale, distribution and exploitation

           9 of Plaintiff’s musical works on various digital streaming services, including YouTube, Spotify

      10 and Pandora Internet Radio, for which Plaintiff had not received any revenues.

      11              42.    In response, while Defendants would acknowledge that there was no written
      12 agreement between Defendants and Plaintiff that would allow Defendants to exploit Plaintiff’s

      13 musical works, and certainly no written agreements that would permit Defendant to own or

      14 control Plaintiff’s YouTube channel, Defendants would also paradoxically claim that

      15 Defendants were trying to help maximize Plaintiff’s “cost-per-view” (“CPV”) for video ads

      16 preceding the display of Plaintiff’s musical works.

      17              43.    However, when Plaintiff would request accounting statements and related
      18 documents reflecting the amount of monies Defendants had collected, including during the term

      19 of the Management Agreement, Defendants would evade the question and revert to referencing

      20 a nebulous “mutual understanding” of what Defendants “do for” Plaintiff.

      21              44.    When Plaintiff would attempt to converge on specifics, while further demanding
      22 a full accounting, Defendant Conner would claim that he was working with his “attorney” to

      23 ensure that Plaintiff’s channel was returned to his control. Defendants did not, however, provide

      24 any semblance of an accounting as required under the Management Agreement.

      25              45.    Contemporaneously, in direct contravention of the termination of the
      26 Management Agreement, Plaintiff also discovered that Defendants were still holding

      27 themselves out as Plaintiff’s “manager” in the entertainment industry, despite Defendants’

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           1 firsthand knowledge of Plaintiff’s retention of another entity as his personal manager.

           2          46.    Accordingly, on or around December 16, 2016, based upon Defendants’ ongoing
           3 failure and refusal to provide Plaintiff with an accounting of royalties Defendants had admitted

           4 to collecting and retaining, Plaintiff sent Defendants a formal written notice requesting an

           5 accounting of all royalties.

           6          47.    Thereafter, on February 17, 2017, after Defendants had continued to fail and
           7 refuse to furnish the requisite financial documentation, Plaintiff caused a cease and desist letter

           8 to be sent to Defendants, reiterating Defendants’ wholesale failure to properly account to

           9 Plaintiff for the monies belonging to Plaintiff that Defendants continued to commandeer, and

      10 further demanding that Defendants cease and desist from representing that Defendants were

      11 acting as the manager of Plaintiff or in any manner affiliated with Plaintiff.

      12                             Defendants’ Fraudulent “Recording” Agreement
      13              48.    Unbeknownst to Plaintiff, at some unknown point in time during the course of
      14 the parties’ dealings, Defendants obtained a generic copy of a template for an artist and record

      15 company agreement and falsified the signature of Plaintiff (the “Recording Agreement”). A true

      16 and correct copy of the Recording Agreement is attached hereto as Exhibit “B”.

      17              49.    The falsified Recording Agreement is purportedly dated January 7, 2013, just six
      18 (6) days after the parties executed the Management Agreement. There is no reference to the

      19 Management Agreement within the falsified Recording Agreement.

      20              50.    The template Recording Agreement contractually required Defendant MIH to
      21 advance all recording costs for Plaintiff, and account to Plaintiff in connection with all royalties

      22 collected by Defendant MIH on behalf of Plaintiff.

      23              51.     Specifically, according to the falsified Recording Agreement, Defendant MIH
      24 agreed to pay for the production and release of a long-playing album formatted master recording

      25 comprised of no less than twelve (12) master recordings for a total of twelve (12) recorded

      26 songs, embodying compositions not yet recorded by Plaintiff.

      27              52.    In addition, according to the falsified Recording Agreement, Defendant MIH was
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           1 required to generate royalty statements delineating all royalties otherwise owed to Plaintiff on a

           2 semi-annual basis, and to pay Plaintiff all accrued royalties earned during these periods.

           3          53.    Further confirming the fraudulent falsification of this purported Recording
           4 Agreement, Defendants never, at any time, advanced any of their own monies towards the

           5 production and release of Plaintiff’s musical works and never provided Plaintiff with any

           6 royalty statements as otherwise required under the Recording Agreement.

           7          54.    Nonetheless, without Plaintiff’s knowledge or consent, Defendants summoned
           8 the falsified purported exclusive Recording Agreement to convince various third parties that

           9 Defendant MIH owned and controlled Plaintiff’s compositions and master recordings, often

      10 inducing various third parties to collect revenues derived from the exploitation of Plaintiff’s

      11 musical works and to distribute such revenue directly to Defendants.

      12              55.    At all times, Defendants intentionally failed to disclose to Plaintiff that
      13 Defendants were drawing upon a fraudulent and falsified generic Recording Agreement to

      14 induce third parties to collect and distribute revenues to Defendants derived from the digital

      15 exploitation of Plaintiff’s musical works.

      16              56.    Through the course of this fraudulent scheme, Defendants have collected
      17 hundreds of thousands of dollars belonging to Plaintiff.

      18              57.    In one instance, in or around October 2016, Defendants induced Live Nation
      19 Entertainment, Inc. (“Live Nation”) to promote and exploit Plaintiff’s YouTube channel that

      20 Plaintiff created on or around November 27, 2009, which channel maintains at least 422,945

      21 subscribers and 184,123,298 views.

      22              58.    After Plaintiff learned that he was not in control of his own YouTube channel,
      23 Plaintiff contacted YouTube which disclosed that Live Nation was collecting the entirety of all

      24 revenues being generated from the monetization of Plaintiff’s musical recordings and music

      25 videos as displayed on YouTube.

      26              59.    It was only after contacting Live Nation in or around August 2017 that Plaintiff
      27 was able to obtain a copy of the falsified Recording Agreement, which represented the first time

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           1 Plaintiff discovered the existence of this generic falsified Recording Agreement.

           2            60.     Currently, based upon the falsified Recording Agreement, absent a judicial
           3 determination, Live Nation will not agree to return control of Plaintiff’s YouTube account and

           4 the corresponding collection of revenue generated from Plaintiff’s YouTube account to

           5 Plaintiff.

           6            61.     In addition, in or around July 2017, months after the filing of this action,
           7 Defendants further summoned the falsified Recording Agreement to fraudulently induce another

           8 third party to allegedly “purchase” the falsified Recording Agreement and its alleged

           9 corresponding assets (i.e. Plaintiff’s musical works”) from Defendants for the sum of

      10 $420,000.00.

      11                62.     All conditions precedent to the institution of this action have been satisfied,
      12 discharged, excused, and/or waived.

      13                                                COUNT I
                                                   DECLARATORY RELIEF
      14
                        63.     Plaintiff repeats and re-alleges each and every allegation contained in paragraphs
      15
                1 through 62 as if fully set forth herein.
      16
                        64.     The Management Agreement expired by its own terms on January 1, 2014.
      17
                        65.     Notwithstanding that Defendants have collected and retained sums of money far
      18
                in excess of what would otherwise be due and owing to Defendants under the Management
      19
                Agreement, and despite Defendants having concurrently unlawfully commandeered hundreds of
      20
                thousands of dollars of Plaintiff’s monies stemming from the exploitation of Plaintiff’s musical
      21
                works, Defendants continue to claim Defendants are entitled to additional compensation under
      22
                the Management Agreement.
      23
                        66.     There is a present actual and justiciable controversy between the parties,
      24
                whereunder the parties are in doubt about their respective rights and obligations under the
      25
                Management Agreement, including with respect to Defendants’ ongoing contention that
      26
                Defendants are entitled to additional payments.
      27
                        67.     Accordingly, Plaintiff seeks a declaratory judgment of this Court declaring that
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           1 Plaintiff does not owe Defendants any monies, obligations, duties or compensation of any kind

           2 or nature related to the Management Agreement or otherwise, and that the Management

           3 Agreement is terminated and of no further force or effect.

           4                                            COUNT II
                                                   DECLARATORY RELIEF
           5
                        68.     Plaintiff repeats and re-alleges each and every allegation contained in paragraphs
           6
                1 through 62 as if fully set forth herein.
           7
                        69.     Despite never executing the falsified Recording Agreement, Defendants continue
           8
                to present the falsified Recording Agreement to various third-parties as a legitimate agreement,
           9
                fraudulently inducing such third-parties to exploit Plaintiff’s musical works and share the
      10
                proceeds exclusively with Defendants (even if this falsified document was authentic, which it is
      11
                not, Defendants would have materially breached virtually every material obligation required to
      12
                be performed under the falsified agreement).
      13
                        70.     There is a present actual and justiciable controversy between the parties,
      14
                whereunder the parties and various third-parties are in doubt about ownership rights in and to
      15
                certain musical compositions and master recordings created by and featuring the performance of
      16
                Plaintiff, including with respect to the authenticity of the falsified Recording Agreement.
      17
                        71.     Accordingly, Plaintiff seeks a declaratory judgment of this Court declaring that
      18
                the falsified Recording Agreement is invalid and null and void, and that Defendants never, at
      19
                any time, maintained the right to exploit, sell or assign the musical compositions and master
      20
                recordings owned and controlled by Plaintiff and featuring the performance of Plaintiff, and that
      21
                all such musical works are exclusively owned by Plaintiff.
      22
                                                    COUNT III
      23                                BREACH OF MANAGEMENT AGREEMENT

      24                72.     Plaintiff repeats and re-alleges each and every allegation contained in paragraphs

      25 1 through 62 as if fully set forth herein.

      26                73.     On or around January 1, 2013, Plaintiff and Defendant MIH entered into the

      27 Management Agreement.

      28                74.     During the course of the Management Agreement, Defendants failed and/or
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           1 refused to perform or provide the agreed upon and required services in accordance with the

           2 Management Agreement, failing and/or refusing to, among other things, properly advise and

           3 counsel Plaintiff on matters pertaining to publicity, public relations and advertising for Plaintiff,

           4 and with regard to general practices in the entertainment, music and recording industries, and

           5 failing and/or refusing to act as the official liaison for Plaintiff, coordinate Plaintiff’s recording

           6 sessions and professional activities and generally promote and enhance Plaintiff’s professional

           7 reputation and standing in the music industry.

           8          75.     In addition, Defendants failed and/or refused to transfer and pay Plaintiff his
           9 percentage of all monies collected on behalf of Plaintiff pursuant to the parties’ Management

      10 Agreement.

      11              76.     To facilitate Defendants’ improper retention of Plaintiff’s funds, Defendants
      12 materially breached the Management Agreement by failing to account to Plaintiff for all

      13 income, revenues and profits derived from the exploitation of Plaintiff’s musical works, and

      14 Defendants continue to fail and/or refuse to provide any such accounting to Plaintiff.

      15              77.     Plaintiff has fully performed all of his obligations under the Management
      16 Agreement.

      17              78.     As a direct and proximate result of Defendants’ material breaches of the parties’
      18 Management Agreement, Plaintiff has suffered significant damages and financial injury.

      19                                               COUNT IV
                                             BREACH OF FIDUCIARY DUTY
      20                                       (As against All Defendants)
      21              79.     Plaintiff repeats and re-alleges each and every allegation contained in paragraphs
      22 1 through 62 as if fully set forth herein.

      23              80.     Inherent in and arising from Defendants’ limited representation of Plaintiff and
      24 collection of Plaintiff’s gross earnings are the fiduciary duties of loyalty, integrity, candor and

      25 good faith.

      26              81.     Defendants, by virtue of their relationship with Plaintiff, held influence with
      27 Plaintiff and abused such influence. Plaintiff reposed confidence, trust and access to funds with

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           1 Defendants, who betrayed such confidence and unlawfully commandeered the funds rightfully

           2 belonging to Plaintiff stemming from the sale and exploitation of Plaintiff’s musical works.

           3          82.    Defendants breached their fiduciary duties owed to Plaintiff in the following
           4 ways: (i) Defendants engaged in the conduct set forth in this FAC; (ii) Defendants falsified the

           5 Recording Agreement to facilitate Defendants’ exploitation of Plaintiff’s musical works; (iii)

           6 Defendants failed and continue to fail to disclose to Plaintiff the amounts Defendants have

           7 collected on behalf of Plaintiff (both authorized and unauthorized); (iv) Defendants unlawfully

           8 retained 100% of all monies due and owing to Plaintiff stemming from the sale and distribution

           9 of Plaintiff’s musical works; (v) Defendants failed to provide Plaintiff with accounting

      10 statements; (vi) Defendants placed their financial and personal interests above Plaintiff’s

      11 interests; and (vii) Defendants continue to collect monies on behalf of Plaintiff without

      12 authorization.

      13              83.    Defendants’ actions were performed solely for their own benefit and financial
      14 interests, and to the direct detriment of the interests of Plaintiff.

      15              84.    As a direct and proximate result of Defendants’ breaches of their fiduciary duties
      16 owed to Plaintiff, Plaintiff has suffered significant damages and financial injury.

      17              85.    Defendants’ breaches of fiduciary duty were committed with oppression, fraud,
      18 and malice within the meaning of Civil Code section 3294. As a result, Plaintiff is entitled to

      19 recover exemplary damages pursuant to Civil Code section 3294.

      20                                               COUNT V
                                                     CONVERSION
      21                                       (As against All Defendants)
      22              86.    Plaintiff repeats and re-alleges each and every allegation contained in paragraphs
      23 1 through 62 as if fully set forth herein.

      24              87.    Plaintiff owned and had a right to possess the musical compositions and master
      25 recordings he developed, funded and created.

      26              88.    Defendants Conner and MIH intentionally and substantially interfered with
      27 Plaintiff’s property by purporting to take possession of and own the rights in and to Plaintiff’s

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           1 musical compositions and master recordings.

           2          89.    Plaintiff never, at any time, consented to Defendants Conner and MIH’s
           3 purported possession and ownership in Plaintiff’s musical compositions and master recordings.

           4          90.    Plaintiff has suffered significant harm and financial damages as a direct and
           5 proximate result of Defendants’ wrongful exercise of control of Plaintiff’s property.

           6          91.    Defendants’ conduct was a substantial factor in causing Plaintiff’s harm.
           7                                            COUNT VI
                                                         FRAUD
           8                                    (As against All Defendants)
           9          92.    Plaintiff repeats and re-alleges each and every allegation contained in paragraphs
      10 1 through 62 as if fully set forth herein.

      11              93.    Without Plaintiff’s knowledge or consent, Defendants fabricated and backdated a
      12 falsified Recording Agreement wherein Defendants claimed to maintain an ownership interest

      13 in Plaintiff’s musical works.

      14              94.    Further without Plaintiff’s knowledge or consent, Defendants proceeded to hold
      15 themselves out as Plaintiff’s recording company, inducing various third-parties to facilitate the

      16 sale and exploitation of musical works Plaintiff created and owned, while channeling the

      17 revenues derived from such exploitation directly to Defendants.

      18              95.    Defendants, at all times relevant, failed to notify Plaintiff of Defendants’
      19 collection and retention of significant royalties and revenues derived from the exploitation of

      20 Plaintiff’s musical works, including that Defendants were proactively inducing third parties to

      21 collect and pay Defendants substantial revenues stemming from the exploitation of Plaintiff’s

      22 music.

      23              96.    While the full nature and extent of Defendants’ improper use of the falsified
      24 Recording Agreement is currently unknown, Plaintiff is aware that Defendants induced Live

      25 Nation to promote and exploit Plaintiff’s YouTube channel, which channel, created by Plaintiff

      26 on or around November 27, 2009, maintains at least 422,945 subscribers and 184,123,298

      27 views.

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           1          97.    After learning that Plaintiff was no longer in control of his own YouTube
           2 channel, Plaintiff contacted YouTube which disclosed that Live Nation was collecting the

           3 entirety of all revenues generated from the monetization of Plaintiff’s musical recordings and

           4 music videos displayed on YouTube.

           5          98.    As a direct and proximate result of Defendants’ fraudulent conduct, Plaintiff has
           6 suffered severe financial damages.

           7          99.    Plaintiff has been damaged in an amount to be determined at trial.
           8                                           COUNT VII
                                                     ACCOUNTING
           9                                    (As against all Defendants)
      10              100.   Plaintiff repeats and re-alleges each and every allegation contained in paragraphs
      11 1 through 99 as if fully set forth herein.

      12              101.   Pursuant to the Management Agreement, Defendants directly collected all
      13 revenues generated by and through Plaintiff’s musical works in the entertainment industry.

      14              102.   Separately, and without Plaintiff’s knowledge and consent, and continuing after
      15 the termination of the Management Agreement, Defendants summoned the falsified Recording

      16 Agreement to collect additional monies generated by the sale, distribution and exploitation of

      17 Plaintiff’s musical works in the entertainment industry.

      18              103.   To date, Defendants have improperly retained all such revenues derived from the
      19 exploitation of Plaintiff’s musical works, including revenues substantially exceeding any sums

      20 Defendant MIH would otherwise be owed under the Management Agreement.

      21              104.   Defendants have further failed and refused to account to Plaintiff as to all such
      22 funds Defendants have received through the exploitation of Plaintiff’s musical works.

      23              105.   As the Management Agreement involves, among other things, a duty to account
      24 for all gross earnings derived from the exploitation of Plaintiff’s musical works, and Defendants

      25 continues to fail and/or refuse to provide any such accountings to Plaintiff, it is not clear that the

      26 remedy at law would be as full, adequate, and expeditious as it is in equity.

      27              106.   The amount of money due from Defendants to Plaintiff is unknown to Plaintiff
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           1 and cannot be ascertained absent a full and complete accounting of the royalty statements and

           2 business receipts.

           3          107.   Plaintiff has demanded an accounting of the aforementioned financial and
           4 royalty statement and receipts from Defendants, and payment of all amounts due and owing to

           5 Plaintiff, however, Defendants have failed and refused, and continue to fail and refuse, to render

           6 such an account and pay such sums.

           7          108.   Accordingly, Plaintiff is in need of and requests a full and complete accounting
           8 of all gross earnings and receipts, including any and all income, compensation, consideration

           9 and/or other monies Defendants have collected in connection with the sale, distribution and

      10 exploitation of Plaintiff’s musical works, and for such other relief as the Court may deem just

      11 and proper.

      12                                         REQUEST FOR RELIEF
      13              WHEREFORE, Plaintiff Alex Gonzalez Velazquez p/k/a King Lil G respectfully
      14 requests that this Court enter a final judgment in his favor and as against Defendants Michael

      15 W. Conner, Jr. and MIH Entertainment, LLC, jointly and severally, and prays for relief as

      16 follows:

      17              On All Causes of Action:
      18                     i.      That Defendants are jointly and severally liable;
      19                     ii.     For not less than $1,000,000.00;
      20                     iii.    For all actual, general, special, economic, and compensatory damages
      21                             according to proof at trial;
      22                     iv.     That the Court declare that the parties’ Management Agreement dated
      23                             January 7, 2013 is terminated in its entirety and that no Plaintiff does not
      24                             owe Defendants any monies or other compensation in connection with
      25                             the Management Agreement;
      26                     v.      That the Court declare that the falsified Recording Agreement dated
      27                             January 7, 2013 is null and void;
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           1                  vi.     That Defendants be ordered to furnish to Plaintiff a complete and
           2                          accurate accounting of all gross receipts and revenues, including any and
           3                          all income, compensation, consideration and/or other monies, Defendants
           4                          received or collected, directly or indirectly, in connection with the sale,
           5                          distribution or exploitation of any musical works created, in whole or in
           6                          part, by Plaintiff;
           7                  vii.    That the Court impose a constructive trust over all property and monies
           8                          belonging to Plaintiff that Defendants misappropriated and converted,
           9                          and that the Court require an accounting from Defendants of all revenues
      10                              and monies earned as a direct or indirect consequence of the property
      11                              subject to the constructive trust;
      12                      viii.   Expectation and consequential damages;
      13                      ix.     For pre-judgment interest on all damages, at the legal rate;
      14                      x.      For all attorneys’ fees and costs of suit incurred herein;
      15                      xi.     For an award of punitive and exemplary damages in an amount
      16                              commensurate with the egregious nature of Defendants’ willful,
      17                              malicious and oppressive actions, and significant enough to dissuade
      18                              Defendants from pursuing similar conduct in the future; and
      19                      xii.    That the Court grants such other and further relief as this Court deems
      20                              just, proper, and equitable under the circumstances.
      21                                      DEMAND FOR TRIAL BY JURY
      22              Plaintiff demands a trial by jury on all issues in this action.
      23

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           1    DATED: September 7, 2017            Respectfully submitted,

           2
                                                    SINGH, SINGH & TRAUBEN, LLP
           3                                        MICHAEL A. TRAUBEN


           4
           5
                                                           Michael A. Trauben
           6

           7                                        Attorneys for Plaintiff
                                                    ALEX GONZALEZ VELAZQUEZ p/k/a
           8                                        KING LIL G

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                               ARTIST MANAGEMEN f AGREEMENT


           This AGREEMENT is made this 151 day of January, 2013 by and bdween Alex
   Gonzalez Velazquez p/k/a King Lil G (hereinafter referred to· as "Artist") and MIH
   Entertainment, LLC, a California limited . liab ·; ;ty company (hereinafter referred to as
   "Manager").

                                               WITNESS 18:TH

          WHEREAS, Artist wishes to obtain advi ~ 1!, guidance, counsel, and direction in the
   development and fwiherance of his career as a musi ::ian, recording, and performing artist and in
   such new and different areas as his artistic talents c ~m. be developed and exploited; and

           WHEREAS, Manager by reason of Manager's contacts, experience and background, is
   qualified to render such advice, guidance, counsel, and direction to Artist;

          NOW THEREFORE, in consideration of the mutual promises herein contained , it is
   agreed and understood as follows:

   1.      Manager agrees to render such advice, guidance, counsel, and other services as Artist
   ITlay reasonably require to further his career as a musician, composer, actor, recording. and
   perfonT1ing artist, and to develop new and different C1 reas within which his artistic talents can be
   developed and exploited, including but not limited to the following services:

           (a)     to represent Artist and act as his negotiator, to fix the terms governing all manner
   of disposition, use, employment or exploitation of Artist's talents and the prodr1cts thereof;

           (b)      to supervise Artist's professional employment, and on f tiist's bebdf, to consult
   with employers and prospective employers so as to assure the proper use aro .•~ contir;ued demand
   for Artist's services;

           (c)   to be available at reasonable times and places to confer with Artis ~ 12: · :onnec!:ion
   with all matters concerqing Artist's professional career, business interests, em ployment, and
   publicity;

           (d)     to exploit Artist's personality in all medi a, and in connection therewith, to approve
   and permit for the purpose of trade, advertising and publicity, the use, dissen• ;.: -= '.rn,
   reproduction or publication of Artist's name, photographic likeness, facsimile s · :,:' c t:ure,    ce
   and artistic and musical materials;

          (e)     to engage, discharge and/or direct su...:.h theatrical agents, booking ,1~~ f.'. nc ;c :, aud
   employment agencies, as well as other firms , persons or corporations who may be retained for
   the purpose of securing contacts, engagements or employment for Artist; and

           (f)     to represent Artist in all dealings with ,my union .




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    2.      Manager is not required to render exclusive services to Artist or to devote his entire time
    or the entire time of any of Manager's employees to Artist's affairs. Nothing herein shall be
    construed as limiting Manager's right to represent other persons whose talents may be similar to
    or who may be in competition with Artist or to have and pursue business interests which may be
    similar to or may compete with those of Artist.

    3.      Artist hereby appoints Manager as his sole personal manager in all matters usually and
    normally within the jurisdiction and authority of personal manager, including but not limited to
    the advice, guidance, counsel, and direction specifically referred to in Paragraph l hereof. Artist
    agrees to seek such advice, guidance, counsel , and direction from Manager exclusively and
    agrees that he will not engage any other agent, representative, or manager to render similar
    services, and that he will not perform said services on his own behalf and he will not negotiate,
    accept, or execute any agreement, understanding, or undertaking concerning his career as an
    actor, musician, recording and performing artist without Manager's prior consent.

    4.      (a)    As compensation for the services to be rendered hereunder, Manager shall receive
    from Artist (or shall retain from Artist's gross monthly earnings) at the end of each calendar
    month during the term hereof a sum of money equal to TEN PERCENT (10%) of Artist's gross
    monthly earnings and Artist hereby assigns to Manager an interest in such earnings to the extent
    of said percentage.

            (b)     The term "monthly gross earnings" , as used herein, refers to the total of all
    earnings, which shall not be accumulated or averaged whether in the form of salary, bonuses,
    royalties, interest percentages, shares of profits, merchandise, shares in ventures, products,
    properties, or any other kind or type of income which is reasonably related to Artist's C'.ireer in
    the entertaimnent, amusement, music, recording, motion pichlfe, televisimt, radio, literary,
    theatrical, and adve1tising fields, and Artist's artistic talents are developed and t:xploited,
    received from administrators, assigns, or by any person, firm, or corporation (including
    Manager) on his behalf.

                   (i)    Royalty advances made to Artist which are deemed recoupable against
    furore earnings by the party or parties making such royalty advances shall not be incl!:ded in
    gross monthly income.

                  (ii)    Royalty payments made to Artist after recoupment shall be payable to
    Manager at the scale and rate aforementioned in Section 4 of this Agreement.

            (c)   The compensation agreed to be paid to Manager shall be based upon gross
    monthly earnings (as defined herein) of Artist accruing to or received by Artist during the tenn
    of this Agreement or subsequent to the termination of this agreement as a result of any services
    performed by Artist during the term hereof or as the result of any contract negotiated during the
    term hereof and any renewal, extension, or modification of this Agreement.

           (d)    In the event that Artist forms a corporation during the term hereof for that
    purpose of furnishing and exploiting his artistic talents, Artist agrees that said corporation shall



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    offer to enter into a management contract with Manager identical m all respects to this
    Agreement (except as to the parties thereto).

                   (i)    In the event that Manager accepts such offers, then the gross monthly
    earnings of such corporation prior to the deduction of any corporate income taxes and of any
    corporate expenses or other deductions shall be included as a part of the Artist's gross monthly
    earnings as herein defined, and any salary paid to Artist by such corporation shall be excluded
    from Attist's gross monthly earnings for the purpose of calculating the compensation due to
    Manager hereunder.

            (e)     In the event that Artist forms a corporation or enters into a contract with a
    corporation during the term hereof for the purpose of exploiting or furnishing his artistic talents,
    then in addition to any and all other considerations to be paid to Manager hereunder, Manager
    shall be entitled to purchase at Least TWENTY PERCENT (20%) of the capital stock of such
    corporation at the price of ONE DOLLAR ($1.00) PER SHARE. Artist agrees expressly not to
    enter into any contract with a corporation for such purpose unless said option is made available
    to Manager.

           (t)      Artist agrees that all gross monthly earnings as herein defined may be paid
    directly to Manager by all persons, firms, or corporations and may not be paid by such persons,
    firms, or corporations to Artist, and that Manager may withhold Manager's compensation
    therefrom and may reimburse himself herefrom for any reasonable and receipted fees, costs, or
    expenses advanced or incurred by Manager that portion of Artist's gross monthly earnings which
    equals Manager's compensation hereunder and such disbursements incurred by Manager on
    behalf of Attist.

    5.       Artist shall be solely responsible for paymen t of all booking agencies, fees , union dues,
    publicity costs, promotional or exploitation costs, traveling expenses and/or wardrobe expenses
    and reasonable expenses arising from the performance by Manager of services hereunder. 1n the
    event that Manager advances any of the foregoing fees , costs, or expenses on behalf of Attist, or
    incurs any other reasonable expenses in connection with Artist's professional career or with the
    performance of Manager's services hereunder, Artist shall promptly reimburse Manager for such
    fees , costs, and expenses.

    6.       Artist warrants that he is under no disability, restriction, or prohibition with respect to his
    right to execute this Agreement and perform its terms and conditions. Artist further warrants and
    represents that no act or omission by Artist hereunder will violate any right or liability to any
    person. Artist agrees to indemnify Manager and hold Manager harmless against any damages,
    costs, expenses, fees (including attorney's fees) incurred by Manager in any claim, suit,
    litigation, or proceeding instituted against Manager and arising out of any breach or claimed
    breach by Artist of any waiTanty, representation, or covenant of Artist. Artist agrees to exett his
    best reasonable efforts to further his promotional career during the term of this Agreement, and
    to cooperate with Manager to the fullest extent in the interest of promoting Artist's career.

    7.    The initial tenn of this Agreement shall be for a period of ONE (l) YEAR with a FOUR
    (4) YEAR annual in-evocable option from the date thereof to renew this Agreement by written



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    notice mailed to Artist no Less than SIXTY (60) days prior to the expiration of the initial term or
    option periods, as the case may be.

    8.      Manager agrees to maintain accurate books and records of all transactions concerning
    Artist, which books and records may be inspected during regular business hours by a certified
    public accountant designated by Artist upon reasonable notice to Manager.

    9.      During the term of this Agreement, it is understood and agreed that there shall be no
    change or modification of this Agreement unless reduced to writing and signed by all parties
    hereto. No waiver or any breach of this Agreement shall be construed as a continuing waiver or
    consent to any subsequent breach hereof.

    10.     It is agreed that as a condition precedent to any assertion by Artist or Manager that the
    other is in default in perfonning any obligation contained herein, the party alleging the default
    must advise the other in writing by Certified United States Mail of the specific obligation which
    it claims has been breached and said other party shall be allowed a period of SIXTY (60) days
    from the receipt of such written notice within which to cure such default.

    1 I.  This Agreement does not and shall not be construed to create a partnership or joint
    ventme between the parties hereto.

    12.     This Agreement shall be constrned in accordance with the laws of the State of California
    governing contracts executed and performed therein, and shall be binding upon and inure to the
    benefit of the parties, respective heirs, executors, administrators, successors, and assigns.

           IN WITNESS WHEREOF, the parties hereunder have subscribed their signatmes in the
    day and year first above written.

    MANAGER:

    MIH ENTERTAINMENT, L
    Liability company




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       ARTIST AND RECORD COMP ANY MULTIPLE RIGHTS AGREEMENT


        The following shall constitute an agreement ("Agreement") dated the 7th day of January
2? 13 be~ee~ ~IH _Entertainment, LLC ("Company") and Alex Gonzalez Velazquez p/k/a King
Lil G ( ~ist ) with respect to Artist exclusively rendering Artist's entertainment services
(''Entertamment Services") for Company, during the term ("Term") of this Agreement.

1. .   ENGAGEMENT: Company hereby engages Artist to render such exclusive Artist and
Art1~t hereby accepts such engagement and agrees to render such services exclusively in the
Terntory, to Company during the Term of this Agreement.

2.      TERM AND OPTIONS: The term of this Agreement shall commence as of the date
hereof and shall continue for twelve months (l 2) months ("Initial Period"). Artist hereby
irrevocably grants to Company the option to extend this Agreement upon the same terms and
conditions of the Initial Period for two (2) further consecutive renewal periods of twelve (12)
months ("Option Period") (the Initial Period or Option Period may be referred to generally as a
"Contract Period"). Each Option Period shall be exercised automatically, unless Company gives
 written notice to Artist within thirty (30) days prior to the date that the Contract Period would
 otherwise expire, that Company does not intend on exercising its right to extend this Agreement
 under the respective Option Company agrees to release in the United States ("Domestic
 Territory") an LP Album recorded by Artist hereunder for sale ("Release") during a respective
 Contract Period ("Release Deadline"). Company will release Audio Products for sale in both a
 Digital Format and physical format (i.e., compact discs). Release in either format shall constitute
 a Release for purposes of this paragraph. If Company fails to Release any such Album in the
 Domestic Territory as set forth herein, Company is precluded from exercising its rights under
  this Agreement for any subsequent Contract Period ("Guaranteed Release"), and this Agreement
  will be considered terminated at the end as of the last day of the applicable Release Deadline.

  3.      SERVICES: Company is hereby engaged to provide various services within the
  furtherance of Artist's career in the music industry as set forth in this Agreement.

                                    RECORDING SERVICES

  4.      RECORDING REQUIREMENTS: During the Initial Period and any subsequent
  Option Periods, Company agrees to pay for the production and release of a long playing album
  formatted master recording comprised of no less than twelve ( 12) Masters for a total of twelve
  ( 12) recorded songs, embodying Compositions not heretofore recorded by Artist ("Album") and
  consistent with the style and manner of the masters previously recorded by Artist. In addition to
  the recording of the required Album during the Initial Term or any Option Period, upon
  Company's request to do so, Artist agrees to record up to a maximum of ten (10) additional
  Masters (" Additional Masters"), at various times throughout a Contract Period for release as an
  Audio Product at various times throughout the Term, including as a single ("Single") or extended
  play album ("EP"). There is no requirement that the Additional Masters be released or included
  on an LP album format. Company shall pay for the Recording Costs in association with the
  Additional Masters in accordance with the terms of this Agreement. Artist's Royalty shall be
  same as for all other Audio Products recorded under the respective Contract Period.
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5.        RECORD PRODUCTION AND EXPENSES:

        a.      Prior to the beginning of any recording session ("Recording Session") Arti s~ and
Company shall consult regarding the elements and process necessary to record Masters dunng a
Contract Period. Artist and Company shall consult regarding the Compositions to be recorded,
the producers and studio to be used for the Recording Sessions, the amount of money to be spent
on recording the Masters ("Recording Budget") and the dates and times to record the Masters
("Pre-Production Process"). Company shall have the right and opportunity to have a
representative attend each Recording Session and each Master shall be subject to Corn~any's
approval as technically satisfactory for the sale of Audio Products. The time for complehon of
 the Pre-Production Process and Recording Sessions for any Masters recorded hereunder ("Album
 Recording Process") shall be by mutual agreement. Artist agrees to use their best efforts to
 complete the Album Recording Process, under this Agreement in a consecutive three (3) m~nth
 period the beginning of which shall be mutually agreed by the parties and subj ect to Artist's
  touring schedule, if any. For purposes of clarification, the Album Recording Process shall consist
  of the process of recording master quality recordings for mixing, master and release on Audio
  Products and shall not consist of the process writing compositions or recording demo quality
  recordings. The decisions regarding all matters under this paragraph 5 shall be by mutual
   agreement, however in the event of a disagreement, the decision of Company shall control

         b.      Company shall have final decision on all money to be spent on all cost incurred
 for the Recording Sessions ("Recording Costs"). The cost of travel, meals, transportation and
 lodging for one representative to attend any Recording Session for the Masters recorded
 hereunder shall be considered a Recording Cost, provided that such costs shall be limited to
 coach class air fare and at minimum 3 star hotel accommodations. The parties will consult
 regarding the Recording Costs and will be mutually approved within the Recording Budget.
  Company shall enter into all agreements with all third parties providing services in furtherance of
  the production of the Masters and all Recording Costs will be paid by Company directly to such
  third parties as incurred. The cost of travel and lodging for one representative to attend a
  Recording Session shall be considered a Recording Cost. Artist shall not incur any Recording
  Costs without Company's written approval ("Unauthorized Recording Cost"). Artist shall be
  personally responsible for any Unauthorized Recording Cost to any third party. If Company
  chooses to pay for such Unauthorized Recording Cost then it shall be treated as a Recording
  Cost.

            c.      Upon Company's request, Artist shall re-record, and Company shall pay for such
     ~e-recordi~g of, a~y Comp?sition recorded hereunder ~ntil a recording, which in Company's sole
     Judgment i~ techmc_ally satisf~ctory f?r the sale of ~udio Pr?ducts. Should Artist fail to appear at
     any_ rec~r?mg sessi~n of which Artist ~as been given written notice, for any reason, without
     Artist g1~mg forty-eight (48) hours nottc~ to Company of an inability to appear as scheduled,
     then Artist shall be personally responsible to repay Company within thirty (30) days of
     Company's presentation of an invoice for the cost incurred by Company for Artist's failure to
     appear without providing such notice.

             d.      C~mdyany shdall ?ave th~ right to negotiate a contract for the services of any person
     or co~pany provi mg pro uction services for Artist on the Masters. Specifically, Company may
     neg~ti.ate to p_ady an~ produficers. of master recordings, producers that create musical tracks,
     musicians or si e artists per ormmg on the Masters, a fee and/or royalties from the exploitation


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of the Masters o_r the sale of Audio Products. Company shall have the right to negotiate a royalty
up to a cumulative amount of all persons performing services for the production of the Masters,
not to exceed twenty five percent (25%) of the amount of royalties Artist is paid from Company,
without Artist's written consent. Artist understands that any fees paid to Production Personnel is
an Expense. All royalty rates in this Agreement are "all-in" rates, which is to say that they
include all royalties due to Artist as well as any other artist, producer, engineer, or other third
parties of any kind. If Company accepts a letter of direction from Artist regarding the services of
any person or company providing production services for Artist on the Masters whereby the
person is to receive a royalty, any such payment shall be deducted from Artist's royalty payable
hereunder.

6.      ARTWORK: Company shall be the owner of the copyright in all artwork created for and
incorporated into packaging of Artist's Audio Products ("Artwork") released pursuant to this
Agreement. All costs of preparation of such artwork or paid by Company for preparation and
rights to Artwork shall be an Expense as set forth in this Agreement. Company agrees to consult
with Artist in connection with the preparation of the Artwork. Artist shall approval over the
Artwork. However, in the event of a dispute, the decision of Company shall control.

 7.      VIDEO RIGHTS: During the term hereof, Company shall have the exclusive worldwide
 right to manufacture and distribute audiovisual programs ("Videos") for commercial and/or
 promotional purposes including any commercial sale or other exploitation of so-called "long
 form" Videos or authorize others to do so. All recording and production costs directly or
 indirectly incurred in connection with the creation of Videos shall be considered Expenses.
 Artist grants Company a synchronization license for the right to use any Controlled Composition
 in a Video and waives the right to be paid a separate synchronization fee for the use of the
 Controlled Composition embodied in a Video or any mechanical license for the distribution and
  sale of the Video.

 8.      MASTER & VIDEO OWNERSHIP: All Masters and Videos as described herein,
 recorded and/or submitted during the Term, together with the performances embodied therein,
 shall, from the inception of their creation, be entirely the property of Company in perpetuity,
 throughout the Territory, free of any claim whatsoever by Artist or by any persons deriving any
 rights or interests from Artist. For the purposes hereof, all such Masters and Videos shall be
 works made for hire under the United States Copyright Law. In the event such works are
 deemed not to be works made for hire, then pursuant to this Agreement Artist hereby transfers
 Artist's rights to the copyrights in the Masters, Videos and the Previously Recorded Masters to
 Company. Artist agrees to execute any documents to fulfill the transfer of copyright to the
 Masters and Videos upon request by Company. Company shall have the right to secure
 registration of the copyright in and to the Masters and Videos in Company's name as the owner
 and author thereof and to secure any and all renewals of such copyright. Nevertheless, you shall,
 upon our request, execute and deliver to us any assignments of copyright (including renewals
 and extensions thereof) in and to such Masters, and Videos as Company may deem necessary.
 Company (and its Licensees) shall have the sole and exclusive right to use the Masters and
 Videos throughout the Territory or any part thereof in any manner it sees fit, including, without
 limitation, the sole and exclusive right in perpetuity and throughout the Territory:

         a.      To manufacture, advertise, sell, distribute, lease, license, or otherwise use or
  dispose of the Masters, Videos and Audio Products embodying the songs, in any or all fields of


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use, including Digital Transmissions, by any method now or hereafter known, upon such terms
and conditions as Company may elect or, in its sole discretion, refrain therefrom;

       b.    To release derivatives of any one or more of the Masters on any medium or
device now or hereafter known, under any name, trademark or label which Company and its
Licensees may from time to time elect.

         c.      Notwithstanding Company's rights set forth in this paragraph, Company agrees
 that it will not, without Artist's written permission, license any Master recorded and released
 hereunder in the following exploitations: for synchronization in films with an X rating or greater,
 synchronization in a scene in any audiovisual production involving nudity, synchronization in
  any media advertisement containing any political message or sales of products involving
  personal hygiene or liquor (excluding beer or wine).

 9.         DISTRIBUTION:

          a.     In the event the terms of this Agreement is in conflict with Company's distribution
  agreement ("Distribution Agreement") with its Distributor of Audio Products, the Distribution
  Agreement terms shall control only as to those terms inconsistent and in conflict with the terms
  of this Agreement. However in no event shall the term of the Distribution Agreement affect
  Artist's Royalty on Audio Products.

           b.      Artist may purchase from Company's physical configurations of Audio Products
  to sell at its Live Performances at Company's for an amount equal to Company's top line
  wholesale price paid by retail stores to Company or its distributors. Payment by Artist for
  physical configurations shall not be considered royalty-bearing units under this Agreement and
  Artist shall only be entitled to retain the money Artist receives from its direct sales of the units.
   Such sales to Artist, however, shall be considered part of Gross Receipts for all other purposes
   under this Agreement. Company shall be responsible for payment of all mechanical royalties and
   manufacturing costs associated with the physical configuration purchased by Artist. Artist shall
   be restricted to selling the physical configurations of Audio Products purchased from Company,
   in a direct person-to-person sale such at Artist's Live Performances or to Artist's friends or family
   and may not sell them in any other retail manner such as through retail stores, online stores,
   through Artist's or other websites, etc. Artist may not sell any other configuration of Audio
   Product from Masters created under this Agreement.

   1O.      SIDE ARTIST: Artist shall not be prohibited from performing as a so-called "featured
   artist" for third parties. In connection with any such recording for anyone other than Company,
   the following conditions shall apply:

             a.      Artist's name and likeness shall not appear on the front cover of any such
      recording;

              b.        Artist's name shall not appear in larger size type than any other side artist on any
      liner or inserts;

            c.   Artist shall not render a solo performance without the prior consent of Company
      and Company shall receive a courtesy credit which states that Artist appears courtesy o


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Company; and

11.     MECHANICAL LICENSE: All musical compositions or material recorded pursuant to
this Agreement, which are written or composed, in whole or in part, or owned or controlled
directly or indirectly by Artist or any producer of Masters subject thereto (herein "Controlled
Compositions") appearing on the Masters and released on Audio Products hereunder, shall be
and are hereby perpetually licensed to Company for the Territory for Controlled Compositions
appearing on Audio Products released by Company. Company shall be responsible for paying
any mechanical royalties owed to third parties for a composition ("Composition"), includmg co-
authors of co-written Controlled Compositions, and such mechanical royalty payment sh~I. be
considered an Expense. Artist agrees not to record any Controlled Composition or. Co!11pos1t1o_n
recorded and delivered to Company hereunder five (5) years from the date of termmat1on of this
Agreement.

                                         PUBLISIDNG

 12.    GRANT OF PUBLISIDNG RIGHTS:

         a.     Subject to those requirements and/or restrictions set forth herein, Artist hereby
grants, sells and conveys to Company one hundred percent (100%) share of Artist's copyright
interest in all songs written or co-written and recorded by Artist during the Term of this
Agreement, (collectively referred to below as "Controlled Compositions") and Company shall
have the exclusive rights to administration of artist's interest in the Controlled Compositions for
the life of copyright in each instance in the Territory.

        b.      Company and Company's foreign subsidiaries, affiliates and licensees have the
fullest possible exclusive rights to administer and exploit the Controlled Compositions, to print,
publish, sell, dramatize, use and license any and all uses of the Controlled Compositions, to
execute in its own name any and all licenses and agreements whatsoever affecting the Controlled
Compositions, including but not limited to licenses for mechanical reproduction, public
performance, dramatic uses, synchronization uses and subpublication, and to assign or license
such rights to others, to utilize Artist's name and likeness in connection therewith and to execute
copyright registration applications (and other routine copyright documents) in Artist's names and
on Artist's behalf as attorney-in-fact (which appointment is coupled with an interest and is
therefore irrevocable).

      c.     Company's exploitation of the Controlled Compositions shall be restricted in the
same manner as its rights to the Masters are restricted under paragraph 8 d. of this Agreement.

13.     COLLECTION OF PERFORMANCE ROYALTIES: Small performing rights in the
Controlled Compositions, to the extent permitted by law, shall be assigned to and licensed by the
performing rights society to which both parties belong. Said society shall be and is hereby
authorized to collect and receive all monies earned from the public performance of the
Controlled Compositions and shall be and is hereby directed to pay directly to Company one
hundred percent (100%) of the publisher's share of public performance fees for the Controlled
Compositions for which Artist shall not be entitled to any income therefrom. Artist shall be paid
one hundred percent (100%) of the writer's share payable by its affiliated performance rights
society and Company shall not be entitled to any income therefrom.


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  14.    LICENSING AND COLLECTION OF MECHANICAL ROYAL TIES: Mechanical
 royalties for the Controlled Compositions for the United States and Canada may be collected by
 The Harry Fox Agency, Inc. or any other collection agent which may be designated. If any
 mechanical licenses are issued directly by Company, it shall do so at the then cm:rent statutory
 rate (with such reduced rates for special types of sales or distribution for which Company
 customarily grants reduced rates to nonaffiliated record companies).

 15.     SUBPUBLISHING AGREEMENTS: Company may enter into subpublishing or
 collection agreements with, and license or assign this Agreement and any of its right~ her~under
 and delegate any of its obligations hereunder to, any persons, firms or corporations m the
 Territory.

                             NAME AND LIKENESS LICENSING

 16.     MERCHANDISE RIGHTS AND SERVICES:

          a.      Artist grants Company, throughout the World, the exclusive right during the Term
  hereof, to exploit and reproduce and authorize others to exploit and reproduce Artist's Name and
  Likeness in any manner and in any medium, now known or unknown including, without
  limitation, in connection with the manufacture, distribution or sale of reproductions of Artist' s
 Name and Likeness on any and all products such as, but not limited to, t-shirts, posters, buttons
 and pins, etc. ("Merchandise"). Any license or other agreement entered into by Company during
  the Term hereof for the exploitation of the Merchandise may be effective after the end of the
 Term hereof but shall be non-exclusive thereafter and only as to the Merchandise created during
 the Term of this Agreement and shall not restrict Artist's future right to create and market
  Merchandise after the expiration or termination of this Agreement. Company shall have the right
 to commercially exploit Merchandise created from any elements incorporated into Album
 Artwork such as photographs, cover art or other graphic designs created and owned by Company
 that is incorporated into the Audio Products distributed and sold hereunder or used by Company
 in marketing or promotion materials previously approved by Artist without any additional
 approval by Artist. In respect to any Merchandise design created and sold during the Term
 containing the Artwork, Company shall have the non-exclusive right thereafter to continue to
 manufacture and sell Merchandise incorporating the Artwork and account to and pay Artist a
 royalty as set forth in this Agreement.

         b.     Company shall have the exclusive ri ght during the Tenn of the Agreement and to
 seek out and make non-exclusive licenses related fo r the use of Artist's Name and Likeness in all
 areas other than Merchandise manufactured under this Agreement including but not limited to
 branding, spons~rships. cn?o~cments, etc _(.. Speci al~ ~icense") . No license under this paragraph
shall _be ma~e without Artis~ s express wntten penn1ss1on. In the event Company is offered any
Specialty License opportu~1ty for the use of the Name and Likeness of Artist by a particular
person or company and Artist chooses not to accept the opportunity offered, Artist shall not enter
into ~y a~ecment, written ?r othe~is~, wi th the person or company offering the proposed
Specialty Licensee. or any of its subs1d1anes or affiliates for one (I) year after the tenninatioo of
this Agreement.




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                                   LIVE PERFORMANCES
17_    TOUR EXPENSES:

    . a.      ~ompany is not obligated, but may from time to time, upon written request of
Art1~t, pay Artist a sum of money to assist in paying for Artist's expenses related to travel,
lodging, meals, etc. in relation to a specific live performance or series of performances ("Tour")
("To~ Expense"). In the event Company shall provide a Tour Expense to Artist, Company shall
be entitled to the percentage of Net Performance Receipt set forth in paragraph 19. In addition to
the _Net Performance Receipts to be paid to Company, any Tour Expenses paid to Artist, or on
Artist's behalf, shall first be repaid to Company from the Gross Receipts collected from the
respective performance or Tour, after which Company shall pay Artist, Artist's share of Net
Performance Receipts as set forth in paragraph 19 of this Agreement. In the event the Tour
 Expenses are not recouped from the Gross Receipts collected by Company or by Artist
 associated with a specific Live Performance or Tour, Company shall have the right to collect the
 outstanding Tour Expenses and retain its percentage of Net Performance Receipt from any Gross
 Receipts derived from subsequent Live Performances or Tours of Artist, until such time as its
 Tour Expenses are paid back, even if Company does not provide Tour Expenses for the
 subsequent Live Performances or Tours. Notwithstanding the foregoing, If Company recoups the
 Tour Expenses expended at any time during any particular Tour for which Company is providing
 Tour Expenses, Company shall collect Company's share of Net Performance Receipts for the
 remaining Live Performances associated with the particular Tour.

        b.       Artist represents it will cooperate with publicity and promotional efforts of the
Company to support sales of Audio Products by appearing or performing from time to time as
requested by Company. After the completion of, but prior to the release of any Album under this
Agreement, Artist and Company shall consult regarding the support of the release of the Album
through Live Performances and appearances by the Artist. Artist shall cooperate with Company
to plan a series of Live Performances and appearances during each Contract Period ("Album
Support Period"). Artist shall cooperate and use its best efforts to book, or authorize its booking
agent, Artist's manager, to book sufficient Live Performances during the Album Support Period
and by agreeing to appear at those Live Performances booked during the Album Support Period.
If Artist requests that Company pay Tour Expenses, then prior to the Album Support beginning,
Company and Artist shall consult and mutually agree upon an amount to be paid by Company as
Tour Expenses during the Album Support Period, if any. If travel is required for a publicity or
promotional effort requested by Company to attend, outside of the city of Artist's primary
residence for which Artist is not being paid, then Company shall pay for the costs of
transportation and lodging, if such be necessary. Company shall pay for such costs in advance of
Artist's travel. However if any costs approved by Company in writing are paid by Artist, the
Company shall reimburse Artist for such costs related to travel and lodging within fourteen (14)
business days following presentment of such fuel and transportation costs. In the event that Artist
is required to travel by airplane, for a Company requested publicity or promotion appearance or
performance, Company shall prepay such travel and lodging for the entire length of such
promotional effort. Tour Expenses for any promotional Live Performance that is requested by
Company for Artist to attend is an Expense under this Agreement. All other Tour Expenses not
recouped from the Gross Receipts from Artist's Live Performances and Tours are treated as an
Advance.



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                                  GENERAL PROVISIONS

18.     COLLECTION OF INCOME: During the Term of this Agreement and in perpetuity
thereafter, unless specifically set forth otherwise, Company shall receive and collect:

       a.      all Gross Receipts derived from advances, royalties or fees or income derived
from the sales or licenses of the Masters recorded hereunder including but not limited to sales of
Audio Products;

       b.     except for collection and distribution of the performance royalties as set forth in
this Agreement, all Gross Receipts derived from advances, royalties or fees paid to Artist for
publishing income derived from the exploitations and licenses of the Controlled Compositions;

       c.     all Gross Receipts derived from advances, royalties or fees payable for sales of
Merchandise derived from the exploitations and licenses of Merchandising Rights or Special
Licenses issued by Company;

       d.    all Gross Receipts derived from advances, royalties or fees paid for the Live
Performances by Artist pursuant to the terms and restrictions of paragraph 17.

19.     ROY ALTIES: Company agrees to pay royalties ("Royalties" or "Artist's Royalties") to
Artist as follows:

                a.      Exploitation of Masters and Sales of Audio Products and Videos:
Company shall pay to Artist as a royalty, sixty percent (60%) of the Net Recording Receipts
calculated by Company, from all sale of Audio Products derived from the Masters or other and
exploitations of the Masters, including but not limited to sales of the Masters, sales of Audio
Products including Digital Formats, flat fee licenses, etc, and the sale or exploitation of Videos.
Recording Costs are considered Advances and shall be recouped only from Artist's Royalties
payable under this subparagraph. However, notwithstanding the foregoing, Company shall pay
Artist sixty percent (60%) of Net Recording Receipts paid to Company from master use licenses
granted to third parties for synchronizing the Masters in film or television programs, including
television commercials. For purposes of this paragraph 19, the sale of an LP Album shall mean
the sale of (i) an Audio Product manufactured in a physical configuration (e.g. compact disc,
digital video disc, vinyl record, etc.), consisting of Masters recorded and released as an LP
Album, or; (ii) an Audio Product in a Digital Format consisting of Masters recorded and released
as an LP Album, in which the sale is all the Compositions or tracks appearing on the LP Album
or in the case of singles, the same number of individual tracks or Compositions appearing on the
LP Album for which the individual Composition or track that was sold individually appears. If
an Additional Master is recorded, released and sold on Audio Products in a Digital Format but
does not appear initially on any Album, such sale of the Audio Product containing the Additional
Master shall be counted as a sale for this paragraph as if the Additional Master had appeared
originally as part of the immediate preceding Album recorded in the same Contract Period from
the first Album sold. Sales are determined by Company or Company's Distributor's normal retail
trade channels on its top popular label in the Untied States as determined in accordance with
Company's standard accounting procedures and as reflected on statements rendered hereunder,




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  . ht b. .   }ub~ishing. Income: Except for royalties received by Company's performance
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                                                         .                 . paragraph 13 of this
                                                              as addressed m                   .
 ~~~e;ent,RCo~pany shall pay to Artist as songwriter royalties sixty percent (60%) of the Net
  u is mg eceipts collected by Company for any exploitations or licenses issued by it for the
 Controlled Compositions · and sha11 retam
                                         · the remammg
                                                   . . amount for Company's own account.

         c. 0 Merchandise and Specialty Rights Exploitation: Company shall pay Artist sixty
 percent (~O ~) of the c.alculated Net Merchandise Receipts received by Company as a result of
 th.e explmtatlons and licenses issued by Company for the Merchandising Rights or a Specialty
 License .

    . , d.      Live Performance: For those Live Performances that Company books any of
 Artls~s Tour Expenses, Company shall pay Artist sixty percent (60%) of the Net Performance
 Receipts earned from an individual Live Performance or from all the Live Performances that are
 part of a Tour.                                    '

        e.      Mechanical Royalty:

                i.      All Controlled Compositions appearing on the Masters and released on
 Audio Products in a Digital Format for Digital Transmissions shall be and are hereby perpetually
 licensed to Company for the United States and Canada at a Mechanical Royalty per selection
 equal to one hundred (100%) percent of the mechanical statutory per selection rate (with regard
 to playing time. Effective on the date of initial U.S. commercial release of the Masters concerned
 hereinafter sometimes to be referred to as the "Per Selection Rate".

                 ii.    All Controlled Compositions appearing on the Masters and released on
 physical configurations of Audio Products (i.e. CDs, vinyl records, etc.) or Audiovisual Products
 hereunder, shall be and are hereby perpetually licensed to Company for the United States and
 Canada at a Mechanical Royalty per selection equal to Seventy-five (75%) percent of the
 mechanical statutory per selection rate (with regard to playing time. effective on the date of
 initial U.S. commercial release of the Masters concerned hereinafter sometimes to be referred to
 as the "Per Selection Rate".

                111.   Notwithstanding the foregoing, the maximum aggregate Mechanical
Royalty which Company will be required to pay in respect of any single, E.P. or L.P., in any
physical formatted Audio Product regardless of the total number of Compositions contained on
the, shall not exceed Two (2) times, five (5) times, and Ten (10) times the "Per Selection Rate"
respectively. For avoidance of doubt this restriction shall not apply to Audio Products sold in a
Digital Format through a Digital Transmission.

             iv.    All Mechanical Royalties payable hereunder shall be paid on the basis of
net Audio Products sold hereunder for which royalties are payable to Artist pursuant to this
Agreement.

                v.     Artist agrees not to record any Controlled Composition or other song
recorded pursuant to this Agreement without Company's written consent, for the later of i) one
( l) years subsequent to the date of release by Company of any Controlled Composition or son
recorded hereunder.


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                vi .   Payments made for Mechanical Royalties under this Agreement are
  considered an Expense.

  20.    ROY AL TY ACCOUNTING:

         a.     Statements as to royalties, Artist's Royalties or Mechanical Royalties (collectively
 ref~rred to as "Royalties" for this paragraph), payable hereunder shall be sent by Company. to
 Artist on or before the thirtieth day of September of the semi-annual period ending the preced~ng
 June 30, and on or before the 31st day of March for the semi-annual period ending the precedmg
 December 31st, together with payment of accrued Royalties, if any, earned by Artist hereunder
 during such semi-annual period, less all Expenses under this Agreement.

         b.     No royalties shall be payable to Artist in respect of sales of Audio Products by
 any of Company's distributors or licensees until payment has been received by Company or
 credited to Company. Sales by any such licensees shall be deemed to have occurred in the semi-
 annual accounting period during which such licensees shall have rendered to Company
 accounting statements for such sales.

         c.      Royalties in respect of the sale of Audio Products outside of the United States
 shall be computed in the national currency in which Company is paid by Company's licensees,
 shall be credited to Artist's royalty account hereunder at the same rate of exchange as Company
 is paid, and shall be proportionately subject to any transfer or comparable taxes which may be
 imposed upon Company's receipts.

         d.      Artist shall be deemed to have consented to all Royalty statements and all other
 accountings rendered by Company hereunder and each such royalty statement or other
 accounting shall be conclusive, final, and binding, shall constitute an account state, and shall not
 be subject to any objection for any reason whatsoever unless specific objection in writing, stating
 the basis thereof, is given by Artist to Company within one (1) year after the date rendered.

        e.      Company shall maintain books of account concerning the sale of Audio Products
hereunder. Artist, or a certified public accountant, in Artist's behalf, may, at Artist's sole expense,
examine Company's books relating to the sale of Audio Products hereunder solely for the
purpose of verifying the accuracy thereof, only during Company's normal business hours and
upon reasonable written notice. Company's books relating to any particular royalty statement
may be examined as aforesaid only within one (1) year after the date rendered and Company
shall have no obligation to permit Artist to so examine Company's such books relating to any
particular royalty statement more than once.

21.     NAME & LIKENESS, TRADEMARKS AND WEBSITES:

         a.     During the Term of this Agreement and for as long as Company shall be entitled
to the rights granted to it under this Agreement, including the sale of Audio Products or to sell or
distribute Merchandise or exploit Artist's Controlled Compositions, Artist hereby licenses to
Company the exclusive right, and to license others the non-exclusive right, to use Artist's name,
approved likeness, voice, approved biographical material or other identification for use in
association with any promotion, marketing or advertising, in any medium now known and


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 exist~ng or that is created in the future. However, during the Term of this Agreemen~, Arti.st will
 not license or consent to the use of Artist's Name and Likeness for or in connection with the
 recording or exploitation of Audio Products under this Agreement by or for anyone other than
 Comp~y. This para~~aph shall not limit Company's rights it has been granted in this Agreement
 regardmg Merchand1smg Rights or Specialty License set forth in this Agreement.

         b.      Artist shall apply for and obtain in Artist's name, and at Artist's expense, federal
 registration of a trademark and/or service mark for Artist's professional name and /or logo in
 connection with the use thereof in all areas of the entertainment industry, including, without
 limitation, in connection with the recording and sale of phonograph records, the establishment of
 fan clubs, the rendition of concerts and live performances, and the sale of clothing and other
 merchandise. If Artist fails to apply for and obtain federal registration of any such trademark or
 service mark, Company shall thereafter have the right to apply for and obtain federal registration
 of any such trademark or service mark, in Artist's name, for which costs shall be considered an
 Advance and Artist hereby appoints Company as its attorney-in-fact, coupled for the purpose of
 applying for and obtaining such registration. Such authority is coupled with an interest and is
 therefore irrevocable.

        c.     Company or its designees shall have the perpetual and exclusive right to create
and maintain a web site ("Web Site") for purposes of promoting Artist and the sale of Artist's
Audio Products. Company shall have the right to Artist's Name and Likeness in the Web Site.
Company shall be the owner of all materials containing Artist's Name and Likeness created and
incorporated into Artist's Web Site subject to the approval of Artist as set forth in this
Agreement. Company shall have the right to register as its own, any domain name that
incorporates or uses Artist's name or any variation of Artist's name. Company shall have the right
to designate any Artist's Web Site as the "official" web site. Notwithstanding, Artist shall have
the right to create one (1) Web Site in connection with Artist's services as a recording and
performing artist. However, Artist shall not be restricted from creating any number of social
networking sites (i.e. Twitter, Facebook, etc.).

22.    DEFINITIONS: For the purpose of this Agreement, the following terms shall have the
following meaning:

        "Audio Products", shall mean all forms of sound reproductions whether now known or
unknown, on or by which sound may be recorded for later transmission to listeners, embodying
sound, including, without limitation, discs of any speed or size, vinyl, compact disc, reel-to-reel
tapes, cartridges, cassettes, audiovisual recordings, Digital Formats, Digital Transmissions, etc.

       "Audio Visual Recordings" ("Videos") shall mean devices reproducing audio
performances or recording artists together with a visual image for home use or otherwise,
embodying Artist's performances.

       "Compositions" shall mean any single musical compos1tlon, irrespective of length,
including all spoken words and bridging passages and a medley.

       "Co~tract ~erio~" shall ~~an an;y period of the Agreement wherein a term or obligation
may be apphcable either m the Imtrnl Penod or any subsequent Option Periods.



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         "Controlled Compositions" shall mean all musical Compositions or material recorded
 pursuant to .this Agreement, which are written or composed, in whole or in part, or owned or
 controlled directly or indirectly by Artist or any producer of Masters subject thereto.

       "Delivery" shall mean Company's receipt of newly-recorded technically satisfac!ory
Masters to constitute the Record required to be given to Company as per this Agr~e~ent (mixed
and mastered), together with all necessary licenses, approval, consents and perrmss1ons an~ all
Artwork to be used in connection with the production and distribution of Audio Products denved
from the Masters recorded hereunder.

        "Digital Format" shall mean a digital configuration of a Master Recording used in the
furtherance of delivering the Master Recording through a Digital Transmission including but not
limited to digital files such as MP3, MPEG, WA V, RAM, etc. or any other digital file now
known or created in the future.

        "Digital Transmissions" shall mean the transmission and distribution to the consumer of
Digital Formats or other configurations other than physical Audio Products, whether of sound
alone, sound coupled with an image or sound coupled with data, in any form including but not
limited to the downloading or other conveyance of Artist's performance on Masters or
Audiovisual Recordings recorded hereunder by telephone, satellite, cable, direct transmission
over wire or through the air, and on-line computers whether a direct or indirect charge is made to
receive the transmission.

       "Entertainment Services" shall mean the exclusive services of Artist performed in the
music industry now existing or hereafter developed including but not limited to the areas of
Recording, Publishing, Merchandise Rights and Live Performance as set forth in this Agreement.

         "Expenses" shall mean all expenses incurred under this Agreement, except for
 Recording Costs, as that term is defined herein, distribution fees, licensing fees, and other
 payments to third parties on Artist's behalf, outstanding Tour Expenses not repaid from Gross
 Receipts collected by Company attributed to Live Performances, outstanding Expenses related to
 the creation, production or manufacture of Merchandise not repaid from Gross Receipts
 attributed to Merchandising Rights, legal or accounting fees payable to Artist's own legal
 counsel or accountant (if any such payments are actually made by Company), customary
 artwork, taxes, mechanical royalties payable to third parties or payable to Artist hereunder,
 manufacturing, packaging charges, payable on Artist's behalf, or fees associated with filing
 copyright fees; attorney's or accounting fees or other administrative expenses paid for the
creation, enforcement, licensing or exploitation of Artist and Artist's rights granted to Company
herein, and; any other costs, fees, or expenses directly related to the representation or
exploitation of Artist consistent with the terms of this Agreement; royalties paid by Company to
Artist for a writer's share of publishing royalties; administrative and exploitation expenses of
Company with respect to the Controlled Compositions including, without limitation, copyright
registration fees, advertising and promotion expenses directly related to the Controlled
Compositions, the costs of transcribing for lead sheets, and the costs of producing demonstration
records, and; any other costs, fees, or expenses directly related to the representation or
exploitation of Artist's rights granted to Company in this Agreement including those expenses
paid to Artist or on Artist's behalf by Company prior to the effective date of this Agreement. .



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          "Gross Receipts" shall mean any and all revenue, income and sums derived and actually
   received by Company for the exploitation of Artist's Entertainment Services and rights granted to
   Company by Artist under this Agreement.

          "Long-Playing" ("LP") shall mean a Record that has no less than ten (I 0) Compositions
   and being no less than forty (40) minutes in duration.

          "Master Recording" ("Master" or "Masters") shall mean any master recording,
   recorded under this Agreement together with any derivatives thereof. Any reference to Master,
   Masters or Master Recording shall include the Previously Recorded Masters.

           "Name and Likeness" shall mean Artist's individual names (both professional and legal
   and whether presently or hereafter used by you) image, likeness, logos and other identification
   and biographical material concerning Artist and any trade name, trademark or service mark used
   by the individual members of Artist (collectively, "Name and Likeness")

          "Net Merchandise Receipts" shall mean Gross Receipts received by Company under the
   terms of this Agreement for Merchandising Rights or Special Licenses after deducting any and
   all Expenses attributed to the licensing thereof or for the cost of creating, producing or
   manufacturing or distributing Artist's Merchandise. In the event Expenses attributed to
   Merchandise Rights or Special Licenses are not fully recouped from the Net Merchandise
   Receipts, Company may treat such unrecouped amount as an Expense hereunder recoupable
   from Gross Receipts.

            "Net Performance Receipts" shall mean Gross Receipts received by Artist or Company
   on Artist's behalf for Artist's Live Performances less Tour Expenses and any fees deducted by
   Artist's booking agent.

         "Net Publishing Receipts" shall mean Gross Receipts received by Company under the
  terms of this Agreement attributed to the publishing exploitation of Artist's songs recorded
  hereunder after deducting any and all Expenses.

          "Net Recording Receipts" shall mean Gross Receipts received by Company under the
  terms of this Agreement attributed to the exploitation of Artist's Master Recordings recorded or
  licensed hereunder and from sale of Audio Products derived from Artist's Master Recordings,
  after deducting any and all Expenses

           "Recording Costs" shall be considered Advances under this Agreement and shall mean
  all costs incurred with respect to the production of Masters embodying the Artist's performances,
  including audio visual recordings, and which are customarily recognized as Recording Costs in
  the phonograph record industry including but not limited to all expenses incurred in connection
  with the production, mixing and mastering of audio and/or visual masters and all payments
 and/or advances to Artist hereunder, as well as payments to all of the musicians (including
 without limitation, instrumentalists, leaders, arrangers, orchestrators, copyists and contractors)
 vocalists and producers, if any, rendering services in connection with any recordings hereunder,
 payments to union pension and welfare funds, costs of cartage and instruments hire, studio or
 hall rentals, editing costs, payroll taxes and other payments to third parties on Artist's behalf
 related to recording costs, fees to third party producers or side artists, fees for replay or a           l
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 sampling license, and other reasonable expenses incurred by Company for th~ purp?se of
 production of the Masters; costs, taxes and/or third party payments in connect10n with the
 production of the Masters produced under this Agreement.

       "Term" shall mean the duration of the Agreement including the Initial P.eriod and
 subsequent Option Periods and any extensions or modifications extending the duration of the
 Agreement.

         "Tour Expense" shall mean the payment of all Company approved ex~enses to att~nd or
 produce a Live Performance including but not limited to costs for production, promotion or
 talent expenses associated with the performance, travel, lodging and per diem expen~es to be
 incurred by Artist in connection with the Live Performance. Any costs associated for
 compensation, travel, lodging or per diem paid by Company for an employee or representative of
 Company assisting with the touring or producing of Live Performance of Artist, provided such
 costs shall be limited to those in like kind expended by Artist for the same or similar expense.

         "Territory" shall mean the World.

 23.    WARRANTIES AND REPRESENTATIONS: Artist warrants and represents the
 following:

         a.      Artist is not now and during the Term shall not be a party to or bound by any
 contract or agreement that will interfere in any manner with the manufacture and marketing and
 sale of the Recording by Company. Artist is under no disability, restriction or prohibition with
 respect to Artist's right to sign and perform under this Agreement.

         b.       The songs and performances embodied in the Recordings, and any use thereof by
 Company or its grantees, licensees, or assigns, will not violate or infringe upon the rights of any
 third party. Artist has secured all proper licenses for the right to perform and record all or any
 part of the performances or recording embodied on Artist's Master including for the use of any
 third party's recording or composition for use in what is commonly known as "sampling",
 "replay'', or "interpolation".

          c.     Artist expressly acknowledges that Artist's services hereunder are of a special,
  unique, and intellectual character which gives them peculiar value, and that in the event of a
  breach by Artist of any term, condition, or covenant hereof, Company will be caused irreparable
  injury. Artist expressly agrees that in the event Artist shall breach any provisions of this
 Agreement, Company shall be entitled to seek injunctive relief and/or damages, as Company
 may deem appropriate, in addition to any other rights or remedies available to Company, and
 Company shall have the right to recoup any such damages resulting from any such breach, which
 shall be reduced to a final, adverse judgment, from any monies which may be payable to Artist
 hereunder or under any other agreement between Artist and Company. During the term of this
 Agreement, the minimum compensation shall be set forth as per California Civil Code Section
 3423 (the "Code") per fiscal year required under the law (the "Minimum Compensation"). If any
 applicable law is hereafter changed to provide for a different minimum compensation
 requirement as a requisite for injunctive relief, then the Minimum Compensation shall be
 automatically amended. to such new figure as of ~e effective date of such change with respect to
 such member(s) of Artist as Company shall designate. Failure of Company to fail to pay Artist


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    the minimum amounts guaranteed under the Code shall not be considered a breach of contract
   and Artist's only remedy is that Company is precluded from filing an injunction against Artist to
   enforce Company's rights under this Agreement unless Company pays the necessary amount
   required by the Code to file the injunction, to Artist that Company wishes to enforce the terms of
   this Agreement against.

         d.     During the Tenn of this Agreement, if required by law or any other a~eement
  that ~ompany may become a party to, Artist shall become and remain a member m good
  standing of any appropriate labor union or unions. If Company becomes a party to any such
  union agreement, Company shall give Artist written notice of such action.

          e.    Artist warrants that it is the sole owner of its professional name and that Artist has
  the sole and exclusive right to use and to allow others to use the Artist's professional name in
  connection with Artist's Entertainment Services.

         f.     Artist understands that the record industry and sales of records is speculative and
  that Company makes no warranty or representations as to the success of the sales of Artist's
  Audio Products distributed and sold hereunder.

          g.      Artist hereby warrants and represents that it has the right to enter into this
  Agreement and to grant to Company any rights granted herein, and that the exercise by Company
  of any and all rights with respect to the Controlled Compositions will not violate or infringe upon
  any common law or statutory rights of any person, firm or corporation, including without
  limitation, contractual rights, copyrights and rights of privacy. The rights granted herein are free
  and clear of any claims, demands, liens or encumbrances.

         h.      The parties hereto shall execute any further documents including without
 limitation, assignments of copyrights, and do all acts necessary to fully effectuate the terms and
 provisions of this Agreement.

 24.     INDEMNIFICATION: Both Company and Artist agree to and do hereby indemnify,
 save and hold each other harmless of and from any and all loss and damage (including
 reasonable attorney's fees) arising out of or connected with any claim by any one or more third
 parties or any act by each other which is inconsistent with any of the warranties, representations,
 and/or agreements made by each party herein, and agrees to reimburse each other on written
 demand for any reasonable payment made by either party at any time with respect to any liability
or claim to which the foregoing indemnity applies. Pending the determination of any claim
involving such alleged breach or failure, Company may withhold sums due to Artist hereunder in
an amount consistent with such claim. Any judgments against Company and any settlements by
Company of claims against Artist together with costs and expenses, including attorney's fees
shall be paid to Company promptly upon demand and may also be recouped by Company from
any Royalties payable to Artist hereunder.

 25.     C URE OF BREACH: Neither party will be deemed in breach unless the other party
gives notice and the notified party fails to cure within thirty (30) days after receiving notice
(fifteen (15) days, in the case of a payment of money); provided, that if the alleged breach does
n~t involve a payment of ?1oney and is _of such a nature that it cannot be completely cured within
thirty (30) days, the notified party will not be deemed to be in breach if the notified party


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 commences the .curing of the alleged breach within such thirty-day period and proceed            to
 complete the curing thereof with due diligence within a reasonable time thereafter.

26.     SUSPENS IONS        ND DEF ULT:

       a.     Company reserves the right by written notice to Artist to suspend its obligation
hereunder and/or to extend the expiration date of the then-current Contract Period for. the
duration of the following contingencies if by reason of such contingencies it is materially
hampered in the recording, manufacture, distribution or sale of Audio Products, or its nonna l
business operations become commercially impractical: labor disagreements. fire, catastrophe,
shortage of materials or any cause beyond Company's control.

          b.     In the event of any default or breach by Artist in the perfonnance of any of
 Artist's obligation or warranties hereunder. Company, by written notice to Artist, in addition to
 any other rights or remedies which it may have at law or otherwise, at its election. may tenninate
 the Term or may suspend its obligations hereunder for the duration of such default or breach
 and/or may extend the expiration date of the then-current Contract Period for a period equal to all
 or any part of the period of such default or breach.

         c.     In the event of any default or breach by Company in the performance of any of its
 obligations or warranties hereunder, Artist shall give Company wri tten notice of such default.
 Company shall then have sixty (60) days to cure such breach before being declared by Artist to
 be in breach or default of this Agreement.

 27.      ~ ~PROVA~ : Unless otherwise stated in this Agreement, wherever in this Agreement
 Artist's approval or consent is required, Artist's approval shall not be withheld unreasonably and
 failure to give such approval or disapproval within seven (7) days of notice by Company shall be
 deemed an approval by Artist. When such approval is to be mutual, in the event of a dispute
 Company's decision shall control.

 28.      ASSIGNMENT: Company shall have the right to assign this Agreement or any of
 Company's rights hereunder or to delegate our obligations hereunder or any part thereof to any
 thi rd party. Specifically, but not limiting the generality of the foregoing, Company shall have the
 right to enter into a long term recording, production or distribution agreement, on terms no less
 favorable than those contained herein, for the provision of Artist's services as exclusive
 recording artists or assigning any of our rights hereunder with any "Major" record company or
 nationally distributed independent label, (as those terms are understood in the recording
 industry). Artist's rights and obligations hereunder are personal and non-delegable.

 29.    SUCCESSOR IN INTEREST: This Agreement shall inure to the benefit of and be
 binding upon each of the parties hereto and their respective successor, permitted assigns, and
 representatives. Company may, at its election, assign this Agreement or any of its rights
 hereunder.

 30.     INVALIDITY OF TERMS: If any clause, sentence, paragraph or part of this
 Agreement, or the application thereof to any person, shall for any reason be adjudged by a court
 of competent jurisdiction to be invalid, such judgment shall be limited and confined in its
 operation to the clause, sentence, paragraph or part thereof directly involved in the controversy in


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 which such judgment shall have been rendered and to the person involved.

 3I.     NOTICE : All notices hereunder required to be given to Company shall be . ent to
 Company at its address first mentioned herein and all royalty statements (and p~ymcnts) and all
 notices to Artist shall be sent to Artist as Artist's address first mentioned hercm, or such other
 address as each party respectively may hereafter designate by notice in writing t~ each other. ~ll
 notices shall be in writing and shall be sent by registered mail or certified mail. ~e~m receipt
 requested. The day of mailing of any such notice shall be deemed the date of the g1vmg thereof.
 Royalty statements (and payments) may be sent by regular mail. All notices shall be served upon
 Company to the attention of the Manager.

 32.    APPLICABLE LAW: This Agreement has been entered into in the State of California
 and the validity, interpretation and legal effect of this Agreement shall be governed by the laws
 of the State of California applicable to contracts entered into and performed entirely within the
 State of California, with respect to the determination of any claim, dispute or disagreement
 which may arise out of the interpretation, performance or breach of this Agreement. Any dispute
 claim, mediation or lawsuit arising out of this Agreement shall be filed in Los Angeles County,
 California.

 33 .    ~l\'IENDMENT: This writing sets forth the entire understanding between the parties
 with respect to the subject matter hereof, and no modification, amendment, waiver termination or
 discharge of this Agreement shall be binding upon the Company unless con finned by a written
 instrument signed by an authorized officer of the Company. No waiver of any provision or any
 default under this Agreement shall constitute a waiver by Company of compliance thereafter
 with the same or any other provision or its right to enforce the same or any other provision
 thereafter.

  34.    MEDIATION: Any claim or dispute arising out of or relating to this Agreement or the
  breach thereof shall first attempt to be settled by mediation in the jurisdiction set forth in this
  Agreement in accordance with the rules and regulations of the American Arbitration Association
  governing single member panels or any other mediation procedure agreed to by the parties. In the
  event mediation of the parties hereto is not successful then each party hereto shall have the right
  to pursue any claim arising out of the dispute by any other legal means available to them within
  the competent jurisdiction.

  35 .     INDE PENDENT CONTRACTOR: Nothing contained herein shall constitute a
  partnership between or a joint venture by Company and Artist. It is specifically understood that
  Artist is acting hereunder as an independent contractor.

  36.    RIGHT TO LEGAL REPRESENTATION: Artist represents and warrants that
  Artist has read this Agreement and Artist understand that this is an important legal
  document. Artist hereby represents and warrants that Artist has been advised of its right
  to seek independent legal counsel in connection with the negotiation and execution of this
  Agreement and that Artist bas either retained and has been represented by such legal
  counsel or bas knowingly and voluntarily waived its right to such legal counsel and desires
  to enter into this Agreement with the benefit of independent legal representation.




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       This Agreement is effective the first date of the Agreement written above.

 COMPANY:

 MIH ENTERTAINMENT, LLC~-----~
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                                                            PROOF OF SERVICE
             2
                                         STATE OF CALIFO RNIA, COUNTY OF LOS ANGELES
             3
                         I am over the age of 18 and not a party to the within action; I am employed by SlNGH, SINGH
             4      & TRAUBEN, LLP in the County of Los Angeles at 400 S. Beverly Drive, Suite 240, Beverly Hills,
                    CA 90212.
             5

             6               On September 7, 2017, I served the foregoing document described as:

             7               FIRST AMENDED COMPLAINT FOR:

             8               1. DECLARATORY RELIEF; 2. DECLARATORY RELIEF; 3. BREACH OF
                             MANAGEMENT AGREEMENT; 4. BREACH OF FIDUCIARY DUTY; 5.
             9
                             CONVERSION; 6. FRAUD; and for an 7. ACCOUNTING
          10

          11
                       I     (BY MAIL) enclosed in sealed envelope(s): I am "readily familiar" with the firm 's practice of
                             collection and processing correspondence for mailing. Under that practice it would be
                             deposited with the U.S. postal service on that same day with postage thereon fully prepaid at
          12                 Los Angeles, Californ ia in the ordinary course of business. I am aware that on motion of the
                             party served, service is presumed invalid if postal cancellation date or postage meter date is
          13
                           )11ore than one day after date of deposit for mai ling in affidavit.
          14
                       'Ff   (BY E-MAIL OR ELECTRONIC TRANSMISSION) I caused the document(s) to be sent
          15                 from e-mail address yiakovleva@singhtraubenlaw.com to the persons at the e-mai l addresses
                             listed in the Service List.
          16
                       o (BY FEDERAL EXPRESS DELIVERY) I served the foregoing document by FedEx, an
          17
                         express service carrier as fol lows: I placed true copies of the forego ing document in sealed
          18             envelopes or packages designated by the express service carrier, addressed to each interested
                         party as set forth above, with fees for del ivery paid or provided for.
          19
                       o (BY PERSONAL SERVICE) I caused such envelope(s) to be hand delivered to the ot1ices of
         20              ~ addressee(s).

         21
                       V(State) I declare under penalty of perjury under the laws of the State of California that the
         22              above is true and correct.

         23            o     (Federal) I declare that I am employed in the office of a member of the bar of this court at
                             whose direction the service was made. I declare under penalty of perjury that the above is true
         24                  and correct.
         25
                             Executed on September 7, 2017 at Beverly Hills, California
         26

         27
                                                                                          Yulia lakovleva
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              ALEX GONZALEZ VELAZQUEZ p/k/a KING LIL G v. MICHAEL W. CONNER, JR. et al.
      2
                                           ASSIGNED TO:
      3                ASSIGNED TO HON. DALILA CORRAL LYONS, DEPARTMENT 20

      4                      SUPERIOR COURT OF THE STATE OF CALIFORNIA
                              COUNTY OF LOS ANGELES - CENTRAL DISTRICT
      5

      6                                     CASE NO: BC6653688

      7                                        SERVICE LIST

      8
            LAW OFFICE OF DANI OLIVA                     Attorney for Defendants
      9
            DANIEL OLIVA, ESQ.                           MICHAEL W. CONNER JR. and
     10     300 Long Beach Blvd.                         MIH ENTERTAINMENT, LLC
            P.O. Box 215
     11     Long Beach, CA 90801-0215
            Tel: 213.537.8357
     12     Fax.: 310.564.5906
            dani@olivaesq.com
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SINGH,
SINGH &
TRAUBEN,                                             2
LLP
                                              PROOF OF SERVICE
